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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


PATRICK HENRY MURPHY JR.                     §
                                             §
                     Petitioner,             §
                                             §
                                             §
              -VS-                           §           CIVIL NO. 3:09-cv-01368-L
                                             §
                                             §    *** DEATH PENALTY CASE ***
                                             §
RICK THALER, Director,                       §
Texas Department of Criminal Justice,        §
Correctional Institutions Division,          §
                                             §
                     Respondent.             §

                            ______________________________

                     PETITION FOR A WRIT OF HABEAS CORPUS
                           ______________________________

                           THIS IS A DEATH PENALTY CASE



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     32            “The Team Concept in a Capital Case”

     33            Invoice of Dr. Mark Vigen, 11/21/03

     34            Declaration of Bekh Bradley-Davino, Ph.D.

     35            Affidavit of Patrick Murphy Sr.

     36            Affidavit of Linda Goodman

     37            Affidavit of Allen Ray Skinner

     38            Declaration of Sheryl Green Fontenot

     39            Affidavit of Kristina Murphy Rogers




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


PATRICK HENRY MURPHY JR.                         §
                                                 §
                      Petitioner,                §
                                                 §
                                                 §
               -VS-                              §          CIVIL NO. 3:09-cv-01368-L
                                                 §
                                                 §   *** DEATH PENALTY CASE ***
                                                 §
RICK THALER, Director,                           §
Texas Department of Criminal Justice,            §
Correctional Institutions Division,              §
                                                 §
                      Respondent.                §

                              ______________________________

                      PETITION FOR A WRIT OF HABEAS CORPUS
                            ______________________________


       Petitioner, Patrick Henry Murphy Jr., is currently confined on death row at the Polunsky

Unit in Livingston, Texas. Through undersigned counsel and pursuant to the Constitution of the

United States and 28 U.S.C. § 2254, Mr. Murphy petitions this Court to issue a Writ of Habeas

Corpus and to order his release from confinement on grounds that his custody and death sentence

violate the Constitution and laws of the United States.

                                        JURISDICTION

       This court has personal jurisdiction pursuant to 28 U.S.C. § 2241(d) because Mr. Murphy

was convicted in the 283rd District Court in Dallas County, Texas. Subject matter jurisdiction is

conferred by 28 U.S.C. § 2254.

                                    PRIOR PROCEEDINGS
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       Mr. Murphy was convicted and sentenced to death in November of 2003. The Texas

Court of Criminal Appeals affirmed the conviction and sentence on April 26, 2006. Murphy v.

State, No. AP-74851, 2006 WL 1096924 (Tex. Crim. App. 2006) (unpublished). The conviction

became final on January 8, 2007, when the United States Supreme Court denied Mr. Murphy’s

petition for writ of certiorari. Murphy v. Texas, 549 U.S. 1119 (2007).

       Mr. Murphy filed an application for writ of habeas corpus in the state convicting court on

November 15, 2005. The convicting court recommended that relief be denied, and the Texas

Court of Criminal Appeals accepted the recommendation, denying relief on July 1, 2009. Ex

Parte Patrick Henry Murphy Jr., No. W01-00328-T, 2009 WL 1900369 (Tex. Crim. App. 2009)

(unpublished).

                                       INTRODUCTION

       Mr. Murphy was convicted and sentenced to death for being a party to the murder of

Aubrey Hawkins, a member of the City of Irving Police Department. Mr. Murphy’s indictment

charged him with capital murder under alternate theories: causing the death of Officer Hawkins

while Officer Hawkins was discharging his official duties as a police officer, and causing his

death during the course of a robbery. There is no record of whether the jury determined under

which theory it convicted Mr. Murphy or whether that determination was unanimous. Because

the jury may have found him guilty as a conspirator to a robbery during which a death was

foreseeable but never made the necessary finding that Mr. Murphy had the purpose of murdering

Officer Hawkins or was recklessly indifferent to human life while being a major participant in

the robbery, Mr. Murphy was convicted and sentenced to death in violation of the Fifth, Sixth,

Eighth, and Fourteenth Amendments to the United States Constitution.




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          In addition, Mr. Murphy’s trial was marred by constitutionally ineffective trial counsel.

Both phases of his trial were tainted by counsel’s objectively unreasonable and prejudicial failure

to seek a change of venue due to extensive and inflammatory pretrial publicity. The punishment

phase of his trial was further blighted by counsel’s deficient performance. First, counsel elicited

highly damaging testimony from its own witness regarding Mr. Murphy’s future dangerousness.

Second, counsel failed to conduct a reasonable sentencing mitigation. These deficiencies

included the failure to retain a mitigation specialist in a timely manner, the failure to thereafter

conduct a competent mitigation investigation, and the failure to investigate whether Mr. Murphy

suffers from post-traumatic stress disorder. Third, counsel failed to object to highly

inflammatory arguments made by the government during punishment phase summations.

Fourth, counsel failed to object to impermissible questions posed by the State during voir dire.

Mr. Murphy was thus deprived of his rights under the Sixth and Fourteenth Amendments to the

United States Constitution, and his conviction and death sentence must be overturned.

                                     STATEMENT OF FACTS

          A.     The December 24, 2000 Homicide and Mr. Murphy’s Subsequent Arrest

          On December 13, 2000, a group of seven inmates escaped from the John B. Connally

Prison Unit in Kenedy, Texas. The escapees were Mr. Murphy, George Rivas, Donald Newbury,

Michael Rodriguez, Larry Harper, Joseph Garcia, and Randy Halprin.

          At approximately 5:45 p.m. on December 24, 2000, the employees of Oshman’s Sporting

Goods in Irving, Texas, were preparing to close the store for the evening. R.R. Vol. 40: 57.1

Employees Wes Ferris and Tim Moore were informed by a man whom they believed to be a

security officer from ADT, Oshman’s alarm company, that a grab-and-run ring was being



1
    Citations to the Reporter’s Record appear as “R.R. Vol. [number]: [page number].”
                                                   3
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investigated. RR. Vol. 40: 54. Mr. Ferris called over two employees to look at photographs of

potential suspects and took the man to the video room to examine security tape footage. R.R.

Vol. 40: 54-55. Mr. Ferris later learned that this man was George Rivas. R.R. Vol. 40: 52.

          Mr. Ferris accompanied Mr. Rivas to the customer service area at the front of the store,

where another man dressed as a security guard was showing photographs to other employees.

R.R. Vol. 40: 56-57. Mr. Ferris made an announcement that the store was closing. R.R. Vol. 40:

57. When he turned to see if any customers were coming to check out, Mr. Rivas pointed a gun

toward the ceiling and announced that a robbery was now in progress. R.R. Vol. 40: 58. Mr.

Ferris stepped toward Mr. Rivas, who pointed the gun at Mr. Ferris and threatened to shoot him

if he tried anything. R.R. Vol. 40: 59.

          Mr. Ferris then saw six to eight armed men around him and the other employees. R.R.

Vol. 40: 60. Mr. Ferris also heard Mr. Rivas using a radio to talk with someone outside the store

who said that everything was fine and that the police were involved with an accident. R.R. Vol.

40: 61.

          Mr. Rivas emptied the cash registers into a large bag and then demanded Mr. Ferris’s car

keys. R.R. Vol. 40: 68-69. Mr. Rivas asked Mr. Ferris to lead him to the video room so that Mr.

Rivas could take the security camera’s videotape. R.R. Vol. 40: 69. En route to the video room,

Mr. Rivas noticed a door down a hallway. R.R. Vol. 40: 69. When Mr. Rivas saw the safe in

that room, he ordered Mr. Ferris to put the money from the safe into the bag. R.R. Vol. 40: 70.

Mr. Rivas also directed Mr. Ferris to collect a number of guns, which the robbers stole. R.R.

Vol. 40: 72-73.

          Mr. Ferris then heard someone say over Mr. Rivas’ radio that they needed to hurry up

because the police were arriving. R.R. Vol. 40: 77. About thirty seconds after the robbers left,



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Mr. Ferris heard what he believed to be gunfire coming from outside, toward the rear of the

store. R.R. Vol. 40: 78.

       Mr. Ferris later positively identified four of the robbers from photographs at the police

station, and tentatively identified an additional two. R.R. Vol. 40: 85. The four positive

identifications were of Mr. Rivas, Michael Rodriguez, Joseph Garcia, and Donald Newbury, and

the two tentative identifications were of Randy Halprin and Larry Harper. R.R. Vol. 40: 86.

       Timothy Cassout, a police officer with the Irving Police Department, testified that on

December 24, 2000, he came on evening patrol duty at the same time as Officer Hawkins. R.R.

Vol. 40: 97. At about 6:30, Officer Cassout heard what sounded like fireworks going off. R.R.

Vol. 40: 100-01. Shortly after hearing the noise, Officer Cassout was dispatched to the

Oshman’s on a suspicious persons call. R.R. Vol. 40: 102. Hawkins had previously been

dispatched to the Oshman’s, and Officer Cassout became concerned because dispatch was

checking on Officer Hawkins’s status but he was not answering. R.R. Vol. 40: 102, 104.

       Officer Cassout arrived at the back parking lot area of the Oshman’s, noticed debris in the

road and Officer Hawkins’ patrol car in an odd position, then saw a person lying face down on

the ground. R.R. Vol. 40: 105-07. It was later determined that this person was the decedent,

Aubrey Hawkins.

       Randall Johnson, a detective with the Irving Police Department, testified that several

employees subsequently identified the suspects’ photographs. R.R. Vol. 40: 134. On January

22, 2001, Det. Johnson received information that the suspects had been located in Colorado.

R.R. Vol. 40: 136. Det. Johnson and two other law enforcement officers went to an RV park

near Colorado Springs, Colorado named Woodland Park. R.R. Vol. 40: 136-37. By the time

they arrived, Rivas, Rodriguez, Garcia, and Halprin had already been arrested and taken to the



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county jail. R.R. Vol. 40: 137-38. Det. Johnson also learned that Harper had committed suicide;

his body was found inside an RV at the RV park. R.R. Vol. 40: 137-38. Mr. Murphy and

Donald Newbury were still at large. R.R. Vol. 40: 139.

       On January 23, 2000, the search for Mr. Murphy and Mr. Newbury centered on a Holiday

Inn in Colorado Springs. R.R. Vol. 40: 140. As the hotel was being secured and people were

being removed from the premises, the authorities entered into negotiations with Mr. Murphy and

Mr. Newbury, during which each made a number of statements. R.R. Vol. 40: 141. Around 3:30

a.m., Mr. Murphy and Mr. Newbury surrendered to the Colorado Springs police. R.R. Vol. 40:

141. After the arrest, Det. Johnson interrogated Mr. Murphy at the Colorado Springs Police

Department, where Mr. Murphy made a statement. R.R. Vol. 40: 143-49.


       B.      Trial Proceedings: Guilt/Innocence Phase2

       Steven Hazard, a City of Irving police officer assigned to the Physical Evidence Section,

was in charge of collecting and documenting any physical evidence at the Oshman’s scene. R.R.

Vol. 41: 60-123. Officer Hazard testified that he discovered evidence that there had been a car

crash between the decedent’s vehicle and a white Ford Explorer, later discovered to be owned by

Oshman’s manager Wes Ferris. R.R. Vol. 41: 67. Officer Hazard testified that by the time both

vehicles started moving, Officer Hawkins had already been shot, and someone had dragged his

body about six feet from his car. R.R. Vol. 41: 79-80. Officer Hazard testified regarding the

damage to both vehicles from bullets, the blood evidence, and the location of numerous spent

shell casings and bullet fragments in and around the vehicles. R.R. Vol. 41: 95-122.




2
  The summary that follows does not include each witness who testified. Rather, it summarizes
the testimony of only the key witnesses.
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         Jeffrey Barnard, the Chief Medical Examiner for Dallas County, performed the autopsy

on Aubrey Hawkins on December 25, 2000. R.R. Vol. 42: 6. Dr. Barnard testified that he found

eleven gunshot wounds on Hawkins’s body. R.R. Vol. 42: 11. Of those eleven, three were

considered rapidly fatal injuries: one that went through the left eye and caused injury to the

brain, one that went through the left chin area and then went through the left lung, and one that

entered the left back area and then went through the aorta. R.R. Vol. 42: 20, 24. The latter was

the most rapidly fatal injury of all of them, and Dr. Barnard testified that even if that injury had

been sustained at or near a hospital, Officer Hawkins could not have been saved. R.R. Vol. 42:

24-25.

         Lannie Emanuel, a firearms expert at the Southwestern Institute of Forensic Sciences,

testified about matching certain bullet fragments/projectiles to specific weapons found at

Oshman’s. R.R. Vol. 42: 194-213. Mr. Emanuel was able to match some of the bullet fragments

to some of the specific weapons recovered from the scene, and he was also able to determine that

at least five different firearms were used. R.R. Vol. 42: 200, 208. Mr. Emanuel also testified

that he was able to recover serial numbers and/or Texas Department of Corrections numbers

from the weapons retrieved from the crime scene. R.R. Vol. 42: 210.

         There was no testimony at any point that Mr. Murphy was suspected of having fired a

weapon during the Oshman’s robbery. Rather, the government’s theory was that Mr. Murphy

served as the lookout and getaway car driver during the robbery and subsequent shooting. R.R.

Vol. 40: 15.

         The defense neither gave an opening statement nor presented any evidence. R.R. Vol.

40: 25, 43: 90.




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          C.    Trial proceedings: Punishment Phase

                1. State’s Evidence3
       The State’s first witness was Deputy Troy Graham. R.R. Vol. 45: 16. Deputy Graham

testified that he arrested Mr. Murphy in February of 1984 for burglary of a building. R.R. Vol.

45: 18.

       Jeannie Grieser testified that Mr. Murphy raped her in March of 1984, that he was tried for

the sexual assault in November of 1984, and that he was convicted and received a sentence of 50

years. R. R. Vol. 45: 68.

       Patrick Moczygemba was an Assistant Maintenance Supervisor at the Connally Unit in

December of 2000. R.R. Vol. 45: 102. He testified that he was familiar with the men who

escaped with Mr. Murphy, as they all worked in his department. R.R. Vol. 45: 103-106. On

December 13, 2000, the inmates and craftsmen in his department went to lunch, except for the

six men that Mr. Moczygemba held back to finish work on the floor: George Rivas, Donald

Newbury, Joseph Garcia, Randy Halprin, Larry Harper, and Patrick Murphy. R.R. Vol. 45: 126.

Mr. Moczygemba was in the office when Mr. Rivas asked him to come into the shop to look at a

motor. R.R. Vol. 45: 126. When Mr. Moczygemba knelt down to look at it, he was knocked

unconscious. R.R. Vol. 45: 127-130. When Mr. Moczygemba awoke, he tried to get away from

Mr. Rivas. R.R. Vol. 45: 130. The inmates came towards him, and Mr. Garcia put a knife to his

throat. R.R. Vol. 45: 130. Mr. Garcia told him he could “end it now” but if they did, they would

“end it now” for anyone else that walked in the door. R.R. Vol. 45: 131-132. At this point Mr.

Moczygemba was undressed, tied, gagged, and dragged into the electrical room. R.R. Vol. 45:

133-34. The inmates then began bringing other inmates and craftsmen to the electrical room.

R.R. Vol. 45: 134-135. When the room was full, the escapees waited outside with the light

3
    Again, only the testimony of the government’s key witnesses is summarized here.
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turned off. R.R. Vol. 45: 137. Terry Schmidt, a lock technician, was able to free himself and

started freeing others. R.R. Vol. 45: 138. Suddenly, Mr. Newberry opened the door and saw the

hostages trying to escape. R.R. Vol. 45: 139. Newberry, Rodriguez and Rivas tried to force the

door back open but could not do so. R.R. Vol. 45: 142. Mr. Newberry got stuck in the door and

was slashing a shank wildly. R.R. Vol. 45: 142-143. The hostages were able to pry him out of

the door and shut it. R.R. Vol. 45: 144. The hostages then heard what sounded like the escapees

welding the door shut. R.R. Vol. 45: 144. After the escapees left, fifteen to twenty minutes

passed before they heard officers coming to rescue them. R.R. Vol. 45: 146. Mr. Moczygemba

testified that he saw everyone except Mr. Murphy when the escape occurred. R.R. Vol. 45: 151.

      Holly Becka, a reporter at the Dallas Morning News, testified that in 2001, she was

assigned to cover the Texas Seven cases. R.R. Vol. 47: 10. As part of her assignment, Ms.

Becka wrote Mr. Murphy a letter asking him to communicate with her about his background.

R.R. Vol. 47: 10. The State presented two letters, from Mr. Murphy to Ms. Becka, dated March

16, 2001 and April 10, 2001. R.R. Vol. 47: 8-11. On cross-examination, the Defense read these

two letters in their entirety. R.R. Vol. 47: 12-33. The letters contained detailed descriptions of

Mr. Murphy’s family life, education, and his criminal history. R.R. Vol. 47: 12-33.

       Jeff Spivey, one of the co-lead detectives in the murder of Aubrey Hawkins, testified that

he had the opportunity to research some web pages and the addresses from a book the authorities

recovered that belonged to Mr. Murphy. R.R. Vol. 47: 60. He stated to the jury that the list of

business addresses shown in the diary was “paramilitary survivalist-type businesses where you

order military surplus equipment, things of that nature.” R.R. Vol. 47: 61-62. On subsequent

pages in the diary, there were addresses of Mr. Murphy’s relatives, telephone numbers of




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Southwest Airlines, a rare coin number, and belt buckle companies, among other notations. R.R.

Vol. 47: 62.

       The State rested its case in chief on punishment. R.R. Vol. 47: 66.


               2. Defendant’s Evidence

       The defense waived opening statements at the punishment phase. R.R. Vol. 47: 68.

       The first witness called by the defense was Linda Goodman, Mr. Murphy’s maternal

aunt. She testified that her sister Carol was Mr. Murphy’s mother, that Carol died in 1995, and

that their father was a drunk. R.R. Vol. 47: 69-71. Carol became pregnant in high school and

married Patrick Murphy Sr. R.R. Vol. 47: 76. Ms. Goodman testified that she, her mother, and

her grandmother often took care of Mr. Murphy for days and weeks at a time. R.R. Vol. 47: 74.

For the first five years of Mr. Murphy’s life, Carol left Mr. Murphy with them a third of the time.

R.R. Vol. 47: 74. Carol would not leave money, food, or clothes to take care of Mr. Murphy; she

seemed high or drunk when she reappeared; and she could not keep a job for very long. R.R.

Vol. 47: 76. When Carol became pregnant again when Mr. Murphy was only a few months old,

Patrick Murphy Sr. knocked Carol across the bed and slapped her around until she miscarried.

R.R. Vol. 47: 76. After Carol and Mr. Murphy’s father divorced, Patrick Murphy Sr. had

weekend visitation rights. R. R. Vol. 47: 79. When Mr. Murphy was a year and a half old, his

father did not return him after his weekend visitation. R. R. Vol. 47: 79. Carol and Ms.

Goodman went to court to seek Mr. Murphy’s return. R. R. Vol. 47: 79. When he was brought

to Court, Mr. Murphy was dressed in dirty clothes, had cigarette burns all over his body, and his

diaper was fastened with a diaper pin that was pinned through his skin. R. R. Vol. 47: 79. After

this, Mr. Murphy did not see his father often. R.R. Vol. 47:80.




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       Carol then became pregnant with her son Allen. R.R. Vol. 47: 80. Carol abused alcohol

while pregnant with Allen. R.R. Vol. 47: 80-85. The man Carol was living with at the time, Ray

Skinner, raped Carol when she returned home after giving birth to Allen. Carol began to

hemorrhage and returned to the hospital, where she stayed for two weeks. R.R. Vol. 47: 80-85.

Afterwards, Carol obtained multiple prescriptions from different doctors and took more drugs

than prescribed. R.R. Vol. 47: 85-86. While taking these medications, Carol began physically

abusing Mr. Murphy. 47: 86. She would hit and slap Mr. Murphy, pull his hair, scream at him,

and leave for prolonged periods of time, with no explanation of her whereabouts. R. R. Vol. 47:

86.

       During Mr. Murphy’s childhood, Carol and her children lived off and on with a man

named Leslie Green, who was a convicted child molester. R.R. Vol. 47: 81-82, 88-89. The fact

of his conviction was known to Carol and Ms. Goodman, as Mr. Green served jail time on the

weekends. R.R. Vol. 47: 88-89. Ms. Goodman further testified that between 1961 and 1970,

Carol regularly used drugs and alcohol. R.R. Vol. 47: 93. Mr. Murphy was always dirty and

would not bathe. R.R. Vol. 47: 95. Ms. Goodman attempted to get counseling for Mr. Murphy,

who was uncontrollable even at age nine, but Carol would not agree to it. R.R. Vol. 47, 94, 97.

       At one point, Mr. Murphy ran away, because he was angry with Ms. Goodman for

punishing him for taking $20 out of her purse. R.R. Vol. 47: 99. After this incident, Mr.

Murphy moved in with his father and Ms. Goodman did not see him again until he was seventeen

years old. R.R. Vol. 47: 100.

       Ms. Goodman also testified about the severe birth defects with which Mr. Murphy’s

younger half-sister, Sandra, was born due to Carol’s drug and alcohol abuse during her

pregnancy. R.R. Vol. 47: 100-03. These included Downs Syndrome, a hole in her heart, and



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facial deformities. Id. When Sandra was only a few months old, Carol hit Sandra on the head

with a hammer, because she could not deal with all her medical problems. R.R. Vol. 47: 104.

       S.O. Woods, a retired Assistant Director for the Department of Criminal Justice

Institutional Division, provided testimony on the prison system and Mr. Murphy’s prison record.

Referring to the sentence Mr. Murphy was serving when he escaped, Mr. Woods testified that

Mr. Murphy could have had a mandatory release date as early as 2001 because of his good time

earned. R.R. Vol. 47: 143. Because he escaped, his good time would be forfeited upon his

return to the penitentiary. Id. Mr. Woods also testified that, if given a life sentence, Mr. Murphy

would earn no good time and would have to serve forty years before being eligible for parole.

R.R. Vol. 47: 145. Mr. Woods detailed Mr. Murphy’s prison record, which included sixteen

incident reports prior to the escape, and testified that there was no evidence that Mr. Murphy had

ever been part of a gang. R.R. Vol. 47: 150-52.

       On cross-examination by the State, Mr. Woods testified that Mr. Murphy should have

been aware of his mandatory release date and that—as the term suggests—that release date

would have been mandatory if he had not committed any major offenses. R.R. Vol. 47: 156-57.

He also testified that, if given a life sentence, Mr. Murphy would be placed in administrative

segregation and could one day reach a minimum security classification. R.R. Vol. 47: 159. Mr.

Woods explained that death row and administrative segregation share the same security

procedures and that on death row, just as in administrative segregation, violent incidents have

occurred in which other inmates and staff have been injured. R.R. Vol. 47: 158, 160-65.

        Mr. Woods further testified that Mr. Murphy, before his escape, worked in maintenance

and was housed in an area of the prison that provided him with a considerable amount of

freedom compared to the rest of the inmates. R.R. Vol. 47: 167-169. In addition, he testified



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that Mr. Murphy had an average IQ, had 15 prior arrests, and was committed to the juvenile

detention center when he was younger. R.R. Vol. 47: 170. Based on this evidence, Mr. Woods

stated his opinion that Mr. Murphy is dangerous in the free world and is dangerous in prison.

R.R. Vol. 47: 171-173.

       Mr. Murphy’s co-defendant George Rivas was the next defense witnesses. Mr. Rivas

testified that he met Mr. Murphy when they worked together in the maintenance department at

the Connally Unit. R.R. Vol. 48: 6. He testified that Murphy was a friendly, hard working

“stand-up guy,” who was not affiliated with any gangs. R.R. Vol. 48: 6-7. Mr. Rivas testified

that he initially planned the escape and that he chose Mr. Murphy to go with him because Mr.

Murphy talked about owning his own shop when he got out, instead of committing more crimes.

R.R. Vol. 48: 7-9. Mr. Rivas first told Mr. Murphy about the escape plan in May 2000. R.R.

Vol. 48:10. Mr. Murphy later told Mr. Rivas that he wanted to back out of the escape plan,

because he was going to be before the parole board sometime in 2001. R.R. Vol. 48:10.

Sometime later, a person who worked with Mr. Murphy was informed that he would be paroled

and was preparing to be released when he was told there had been a protest to his parole. R.R.

Vol. 48: 11. Mr. Murphy was very upset about this. R.R. Vol. 48:11. Mr. Murphy was also

concerned about having to register as a sex offender when he was released, because he had seen

on television that a registered sexual offender had been beaten up by his neighbors. R.R. Vol. 48:

12-13. After these two incidents, Mr. Murphy once again decided to participate in the escape

plan. R.R. Vol. 48: 13.

       Mr. Rivas gave Mr. Murphy the role of “lookout” because “[h]e’s not overly

aggressive.” R.R. Vol. 48: 14. Mr. Rivas testified that Mr. Murphy’s only role in helping with

the escape was to carry someone by his feet. R.R. Vol. 48: 14-15. Furthermore, Mr. Rivas and



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Mr. Harper made the plans outside of prison to rob stores. R.R. Vol. 48: 15. Mr. Rivas also

testified that Mr. Murphy stated that he did not want to go into any of the stores and did not want

to rob anyone, so Mr. Murphy always stayed in the car. R.R. Vol. 48: 19-20.

          Mr. Rivas testified that Mr. Murphy’s role at the Oshman’s was to monitor the police

scanner and to alert him of anything going on. R.R. Vol. 48: 20. Mr. Murphy stayed in the truck

located at the front of the store and watched over the weapons, because Mr. Rivas did not feel

comfortable leaving all that equipment in the motel at which they were staying. R.R. Vol. 48:

20-21. Mr. Rivas testified that Mr. Murphy communicated with him that he heard a suspicious

activity report and that police were on the way, but that he was still at the front of the store when

the shooting occurred. R.R. Vol. 48: 23-24. Mr. Rivas further testified that there was never any

discussion about Mr. Murphy being a sniper, because he was nearsighted. R.R. Vol. 48: 25-27.

Mr. Murphy learned of the shooting when three of the men got into the car with him. R.R. Vol.

48: 24.

          On redirect examination, Mr. Rivas testified that the purpose of Mr. Murphy calling and

warning him about the officer that was coming was so that Mr. Rivas would get away from the

scene, not to attack the officer. R.R. Vol. 48: 87. He also testified that he thought Mr. Murphy

felt less a part of the group, because he did not actively participate in any of the robberies. R.R.

Vol. 48: 89.

          The defense then called Patrick Murphy Sr. He testified that Carol, Mr. Murphy’s

mother, was a good mother, but that she changed after their divorce. R.R. Vol. 48: 101. He and

Carol divorced when Mr. Murphy was eighteen months old, and she moved away with Mr.

Murphy. R.R. Vol. 48: 102. He did not see Mr. Murphy from the time that Mr. Murphy was

three until he was nine years old. R.R. Vol. 48: 105. The next time he saw Mr. Murphy, Mr.



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Murphy was nine years old, had run away, and was hiding in an old school bus. R.R. Vol. 48:

105. Mr. Murphy was dirty and covered with mosquito bites and ringworm. R.R. Vol. 48: 106.

Mr. Murphy then moved into his home and did not have the normal hygiene of a nine year old.

R.R. Vol. 48: 108. Thereafter, Mr. Murphy’s hygiene and schoolwork improved, but he

continued to get in trouble. R.R. Vol. 48: 112.

       When Mr. Murphy was eighteen or nineteen he married and had a child who died at birth.

R.R. Vol. 48: 112-13. The day after the baby died, Mr. Murphy pulled a shotgun on his father,

but Patrick Murphy Sr. testified that he knew Mr. Murphy was not going to shoot. R.R. Vol. 48:

123-24. Mr. Murphy married again when he was twenty and had a son. R.R. Vol. 48: 113-14.

He also testified that two of his brothers, who were around Mr. Murphy when he was a child,

were sent to prison for child molestation. R.R. Vol. 48: 121.

       Dr. Mark Vigen, a psychologist, testified as an expert witness for the defense. He noted

that he had interviewed Mr. Murphy, his family members, and doctors who had treated Mr.

Murphy. R.R. Vol. 48: 145-146. Dr. Vigen also testified that he reviewed records and police

reports in preparing for his testimony. R.R. Vol. 48: 145-146. Dr. Vigen testified that Mr.

Murphy has a diagnosis of sexual disorder not otherwise specified and a narcissistic borderline

personality with antisocial traits. R.R. Vol. 48: 145-148. In addition, he stated that Mr. Murphy

is empathetic, but this quality is “developmentally delayed.” R.R. Vol. 48: 152. Dr. Vigen

testified that Mr. Murphy had several traits of a borderline personality, which include a frenetic

need to avoid real or imagined abandonment and a pattern of unstable and intense personal

relationships, characterized by alternating between extremes of idealization and devaluation.

R.R. Vol. 48: 154. Other traits include impulsivity in the areas of sex and substance abuse. R.R.

Vol. 48: 154-55. He also asserted that Mr. Murphy has antisocial personality traits, manifested



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in a pervasive pattern of disregard for and violations of the rights of others. R.R. Vol. 48: 155.

Dr. Vigen testified that Mr. Murphy’s sexual disorder was a result of a long and severe

developmental history of family dysfunction and sexual abuse. R.R. Vol. 48: 157.

       Dr. Vigen stated his belief that Mr. Murphy was more of a follower than a leader in the

escape and ultimate murder of Officer Hawkins. R.R. Vol. 48: 162-163. Furthermore, he

testified that due to Mr. Murphy’s lack of violence during his sixteen years in prison, Mr.

Murphy would be assigned to administrative segregation and therefore posed a very low risk of

committing any future acts of violence within the prison system. R.R. Vol. 48:164. Also, based

on his conversations with Mr. Murphy and the disorders from which Mr. Murphy suffers, Dr.

Vigen stated that Mr. Murphy has “additional potential for rehabilitation and possible personal

spiritual conversion as he moves into the latter part of his second half of life.” R.R. Vol. 48: 164.

Finally, Dr. Vigen stated that Mr. Murphy had done well in the penitentiary system and was

actually a better person because of the system. R.R. Vol. 48: 167.

       On cross-examination by the State, Dr. Vigen testified that Murphy knows right from

wrong, is not mentally incompetent, and is not insane. R.R. Vol. 48: 175. The State questioned

Dr. Vigen on whether or not he believed Mr. Rivas’ version of what happened at Oshman’s,

whether he thought Murphy anticipated the type of violence that could happen, and whether he

thought the escapees had set up an ambush around Officer Hawkins. R.R. Vol. 48: 175-183. Dr.

Vigen testified that he did believe Rivas to a certain point, that Murphy anticipated and thus had

some worries about what would happen when they robbed 17 people, and that he would not

characterize what happened to Officer Hawkins as an ambush. R.R. Vol. 48: 175-183. Dr.

Vigen did acknowledge, based on the rape Mr. Murphy committed in 1984, the escape from

prison, and the events that occurred after, that he participated in high risk behavior and that he



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was violent in prison. R.R. Vol. 48: 188-190. He also acknowledged that although he

characterized Murphy as a follower, Mr. Murphy was not acting as a follower in 1984 when he

and his brother Allen broke into a building, Mr. Murphy committed the rape on his own, and Mr.

Murphy and Mr. Newbury broke off on their own when the escapees reached Colorado. R.R.

Vol. 48: 200. Dr. Vigen testified that although he saw remorse from Mr. Murphy, Mr. Murphy

seemed to be enjoying himself in Colorado by going to “massage parlors” and Mr. Murphy did

not show remorse for the rape he had previously committed. R.R. Vol. 48: 198-200. When

questioned about his reasoning as to why he thought Murphy should be sent to administrative

segregation, Dr. Vigen explained that he would most likely not be violent because of his lack of

violent behavior in the prison during his 16 years there and it would be very difficult to escape

from that unit. R.R. Vol. 48: 201-202.

       After Dr. Vigen testified, the defense rested its case. R.R. Vol. 49: 16. The prosecution

did not call any witnesses in rebuttal. Id.

                                     CLAIMS FOR RELIEF4

I.     MR. MURPHY WAS SENTENCED TO DEATH WITHOUT THE NECESSARY
       FINDING THAT HE EITHER HAD THE PURPOSE TO COMMIT MURDER OR
       THAT HE WAS RECKLESSLY INDIFFERENT TO HUMAN LIFE WHILE
       BEING A MAJOR PARTICIPANT IN THE ROBBERY, IN VIOLATION OF THE
       FIFTH, SIXTH, EIGHTH, AND FOURTEENTH AMENDMENTS TO THE
       UNITED STATES CONSTITUTION.

4
 Counsel anticipates filing an amended petition in this case to supplement the claims for relief
set out below. Counsel has contacted the State and requested access to its trial file but was
informed that counsel would not be allowed to review the file until sometime in July. In
addition, counsel submitted an Open Records Act request for information in possession of the
Texas Department of Criminal Justice’s Office of the Inspector General related to its
investigation of the escape. Though the Attorney General ordered the Office of the Inspector
General to release a number of documents on December 16, 2009, counsel has yet to receive all
of the documents to which counsel is entitled. Accordingly, though counsel has been diligent
about investigating all available claims for relief, that investigation is not yet complete.
Undersigned counsel and counsel for the respondent are in communication regarding the filing of
a joint proposed scheduling order, which counsel expects to file in the coming days.
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         A. Pursuant to Enmund v. Florida, 458 U.S. 782, 797 (1982), and Tison v. Arizona,
            481 U.S. 137, 158 (1987), In Order to be Death Eligible for a Felony Murder the
            Defendant Must Either “Kill, Attempt to Kill, or Intend that a Killing Take
            Place or that Lethal Force Will be Employed” or He Must be a “Major
            [Participant] in the Felony Committed, Combined with Reckless Indifference to
            Human Life.”

         The Eighth Amendment to the United States Constitution only allows the death penalty

when it is a proportionate response to the defendant’s personal culpability. 458 U.S. at 801

(“[C]riminal culpability must be limited to his participation in the robbery, and his punishment

must be tailored to his personal responsibility and moral guilt.”). The death penalty is not

available for mere accomplice liability. In Enmund, the defendant was the driver of a car used

by two others to commit a robbery. Enmund drove them to an isolated farmhouse and parked

some distance away while they went in to rob the residence. During the robbery one of the

criminals was shot in the shoulder, and both of their victims were shot to death. Enmund was

sentenced to death for his role in the crime. Id. at 784-85. In upholding Enmund’s death

sentence, the Florida Supreme Court reasoned that Enmund’s degree of participation in the

crime, as well as his personal mental state, were irrelevant. According to the state court, the

death sentence could be sustained on the mere basis that Enmund was an accomplice under state

law. The Supreme Court reversed. The Court held that, where a non-trigger person faces a death

sentence, the Constitution requires that a jury consider both the defendant’s degree of

participation in the crime, as well as his mental state regarding the possibility that loss of life will

occur.    Id. at 788, 801.

          In Tison, the two defendants and their brother conspired with their incarcerated father

and his cellmate to break him out of prison. They broke into his jail with several weapons and

managed to get the two prisoners out without firing a shot. While on the run from law



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enforcement one of their tires blew out and they needed a spare. They flagged down a passing

car and planned to steal it, leaving its owners stranded in the desert with their old car. Before

departing, the Tisons’ father and his cellmate killed the car’s owners with shotguns provided by

his sons. The state offered no evidence beyond the circumstances of the crime that either

defendant intended or expected their father to kill. Id. at 139-41. Again the Supreme Court

reversed and, in so doing, refined Edmund’s personal culpability requirement. The Court held in

Tison that the Eighth Amendment permits a death sentence in the case of a non triggerman if the

state establishes and the jury finds that the defendant exhibited “reckless disregard for human life

implicit in knowingly engaging in criminal activities known to carry a grave risk of death.” 481

U.S. at 157.

       B. The Jury at Mr. Murphy’s Trial Made No Necessary Finding of Either Intent or
          Major Participation in the Robbery.

       Mr. Murphy was found guilty of capital murder on one of four possible theories of

liability. The jury charge in the guilt-innocence phase read in part:

       (1) If you believe from the evidence beyond a reasonable doubt, that on or about
       December 24, 2000, in Dallas County, Texas, George Rivas, Donald Keith Newbury,
       Michael Anthony Rodriguez, Joseph C. Garcia, Randy Halprin, or Larry Harper,
       hereinafter referred to as ‘the others,’ or any combination of the others, knowing Aubrey
       Hawkins was a police officer, did intentionally or knowingly cause the death of Aubrey
       Hawkins, an individual and a peace officer, namely a City of Irving police officer, acting
       in the lawful discharge of an official duty, by shooting him with a firearm, a deadly
       weapon, and if you further find from the evidence beyond a reasonable doubt that the
       defendant, Patrick Henry Murphy, Jr., acting as a party, as that term is hereinbefore
       defined, did, with the intent to promote or assist the commission of the offence of murder,
       solicit, encourage, direct, aid, or attempt to aid the others, or any one or combination of
       the others, in intentionally or knowingly causing the death of Aubrey Hawkins, then you
       will find the defendant, Patrick Henry Murphy Jr., guilty of capital murder.
                                                OR
       (2) If you believe from the evidence beyond a reasonable doubt, that on or about
       December 24, 2000, in Dallas County, Texas, the defendant, Patrick Henry Murphy Jr.,
       entered into a conspiracy with one or more of the following persons: George Rivas,
       Donald Keith Newbury, Michael Anthony Rodriguez, Joseph C. Garcia, Randy Halprin,
       or Larry Harper, hereinafter referred to as ‘the others,’ to commit the felony offense of

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       robbery, and in the attempt to carry out this conspiracy, if any, one or more of the others,
       knowing Aubrey Hawkins was a police officer, did intentionally or knowingly cause the
       death of Aubrey Hawkins, an individual and a peace officer, namely a City of Irving
       police officer, acting in the lawful discharge of an official duty, by shooting him with a
       firearm, a deadly weapon, and if you further find that intentionally or knowingly causing
       the death of Aubrey Hawkins was committed in furtherance of the unlawful purpose to
       commit robbery and should have been anticipated as a result of carrying out the
       conspiracy to commit robbery, whether or not the defendant Patrick Henry Murphy Jr.,
       had the intent to case the death of Aubrey Hawkins, then you will find the defendant,
       Patrick Henry Murphy Jr., guilty of capital murder.
                                               OR
       (3) If you believe from the evidence beyond a reasonable doubt, that on or about
       December 24, 2000, in Dallas County, Texas, George Rivas, Donald Keith Newbury,
       Michael Anthony Rodriguez, Joseph C. Garcia, Randy Halprin, or Larry Harper,
       hereinafter referred to as ‘the others,’ or any combination of the others did intentionally
       or knowingly cause the death of Aubrey Hawkins, an individual, by shooting him with a
       firearm, a deadly weapon, while in the course of committing or attempting to commit the
       offense of robbery or Wesley Farris, and if you further find from the evidence beyond a
       reasonable doubt that the defendant, Patrick Henry Murphy, Jr., acting as a party, as that
       term is hereinbefore defined, did, with the intent to promote or assist the commission of
       the offence of murder, solicit, encourage, direct, aid, or attempt to aid the others, or any
       one or combination of the others, in intentionally or knowingly causing the death of
       Aubrey Hawkins in the course of the commission or attempted commission of the offense
       of robbery or Wesley Farris, then you will find the defendant, Patrick Henry Murphy Jr.,
       guilty of capital murder.
                                               OR
       (4) If you believe from the evidence beyond a reasonable doubt, that on or about
       December 24, 2000, in Dallas County, Texas, the defendant, Patrick Henry Murphy Jr.,
       entered into a conspiracy with one or more of the following persons: George Rivas,
       Donald Keith Newbury, Michael Anthony Rodriguez, Joseph C. Garcia, Randy Halprin,
       or Larry Harper, hereinafter referred to as ‘the others,’ to commit the felony offense of
       robbery of Wesley Farris, and in the attempt to carry out this conspiracy, if any, one or
       more of the others did intentionally cause the death of Aubrey Hawkins by shooting him
       with a firearm, a deadly weapon, and if you further find that intentionally causing the
       death of Aubrey Hawkins was committed in furtherance of the unlawful purpose to
       commit the robbery of Wesley Farris, and intentionally causing the death of Aubrey
       Hawkins was an offense that should have been anticipated as a result of carrying out the
       conspiracy to commit robbery, whether or not the defendant Patrick Henry Murphy Jr.,
       had the intent to case the death of Aubrey Hawkins, then you will find the defendant,
       Patrick Henry Murphy Jr., guilty of capital murder.

C.R. Vol. 1: 39-41.5



5
 Citations to the single volume of the Clerk’s Record appear as “C.R. Vol. [number]: [page
number].”
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       However, following this lengthy, disjunctive instruction, the jury simply returned a

general verdict finding the defendant guilty of capital murder. Nowhere did the jury indicate

under which theory it convicted him or whether there was a unanimous choice at all. C.R. Vol.

1: 45. It is impossible to rule out the possibility that Mr. Murphy’s jury found him guilty as a

conspirator to a robbery during which a death was foreseeable.

       As a matter of Texas law, conspiracy does not require any participation at all in the

criminal objective of the conspiracy; it is a crime of agreement. “(a) A person commits criminal

conspiracy if, with intent that a felony be committed: (1) he agrees with one or more persons that

they or one or more of them engage in conduct that would constitute the offense; and (2) he or

one or more of them performs an overt act in pursuance of the agreement.” Tex. Penal Code §

15.02 (2010). The jury was told that a conspiracy “means an agreement…with intent that a

felony be committed,” and they were also instructed with a verbatim copy of §7.02(b) of the

Texas Penal Code: “If, in the attempt to carry out a conspiracy to commit one felony, another

felony is committed by one of the conspirators, all conspirators are guilty of the felony actually

committed, though having no intent to commit it, if the offense was committed in furtherance of

the unlawful purpose and was one that should have been anticipated as a result of the carrying

out of the conspiracy.” C.R. Vol. 1: 37. Nowhere in either the statute or the jury instructions

was any one member of the conspiracy required to have any participation at all in the robbery or

the death of Aubrey Hawkins. In other words, to be guilty of capital murder because a

foreseeable death occurred during a planned robbery, Mr. Murphy needed only to agree with his

co-felons who ultimately carried out the robbery. See, e.g., McIntosh v. State, 52 S.W.3d 196,

199 (Tex. Crim. App. 2001) (A conspiracy conviction only requires some member to have

performed an overt act and not any particular defendant.). In the instant case, the Texas Court of



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Criminal Appeals adopted the legal finding that “[t]o prove [Murphy’s] guilt as a party

conspirator, however, the State only had to demonstrate that [Murphy] should have anticipated

Officer Hawkins’ death.” Ex Parte Patrick Henry Murphy, Jr., No. W01-00328-T, 2009 WL

1900369 (Tex. Crim. App. 2009) (unpublished) (adopting findings from Ex Parte Patrick Henry

Murphy, Jr., No. W01-00328-T slip op. at 7 (283d Tex. Dist. April 10, 2009)). Mr. Murphy’s

participation was irrelevant to the guilt-innocence verdict.

       The jury did not make any finding as to participation in the punishment phase, either.

Under the Texas capital sentencing scheme the same jury from the guilt innocence phase is asked

to answer special issues. Mr. Murphy’s jury was given three special issues. In the first they

found it was possible that Mr. Murphy would commit violent acts in the future and in the third

they declined to find mitigating circumstances that would warrant a sentence of life

imprisonment. C.R. Vol. 1: 54, 56. In special issue two, the jury found that Mr. Murphy “did not

actually cause the death of the deceased, Aubrey Hawkins, but intended to kill the deceased or

another or anticipated that a human life would be taken.” C.R. Vol. 1: 55. This finding, like the

finding with respect to guilt-innocence, has nothing to do with Mr. Murphy’s conduct during the

robbery or the murder; the finding addresses nothing more than Mr. Murphy’s mental state at the

time he agreed to go along with the conspiracy. To the extent the jury found any mental state,

they only necessarily found that Mr. Murphy anticipated that someone might die, not that he had

any intent for that to occur.

       The Fifth Circuit has identified this exact problem with Texas’ capital sentencing scheme

in Gongora v. Quarterman, 2008 U.S. App. LEXIS 22164 (5th Cir. Oct. 22, 2008). In Gongora,

the defendant was convicted of capital murder and sentenced to death in a case where the jury

instructions contained theories of direct liability for felony murder and conspiracy liability for a



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robbery during which a foreseeable death occurred. 2008 U.S. App. LEXIS 22164 at 19-20.

The relevant sections of the jury’s instructions were substantially the same as Mr. Murphy’s.6

The panel concluded that Gongora’s case was not akin to other Texas cases where the defendant

was convicted as an accomplice to the murder and thus the jury necessarily found participation in

the underlying felony. They also accepted as debatable, and possibly correct, Gongora’s

argument that the language of Texas’ second special issue, the same as Mr. Murphy’s, does not

satisfy Tison’s recklessness requirement. Id. at 17. The Fifth Circuit granted a certificate of

appealability on Gongora’s Tison claim. Mr. Murphy request that, if this Court is not presently

prepared to grant Mr. Murphy relief on the basis that the Enmund-Tison culpability finding was

not made in this case, that this Court delay a decision on his petition until the Fifth Circuit issues

its opinion in Gongora, which contains a closely-related if not identical claim.7 Id. at 22.

       C. Pursuant to Ring v. Arizona, 536 U.S. 584, 605 (2002), Personal Culpability of a
          Capital Defendant in a Felony Murder Prosecution Is a Fact “Increasing
          Punishment Beyond the Maximum Authorized by a Guilty Verdict Standing
          Alone” and Must Be Found by a Jury.



6
  The panel quoted the instructions as follows: “Now, therefore, if you believe from the evidence
beyond a reasonable doubt, that the Defendant, Nelson Gongora, . . . did . . . intentionally cause
the death of an individual, Delfino Sierra, by shooting Delfino Sierra with a deadly weapon, to-
wit: a firearm, and that said Defendant was . . . in the course of committing or attempting to
commit the offense of robbery of Delfino Sierra, or if you find and believe from the evidence
beyond a reasonable doubt, that the Defendant, Nelson Gongora, entered into a conspiracy with
Albert Orosco to commit the felony offense of robbery of Delfino Sierra and that . . . in the
attempt to carry out this conspiracy, Albert Orosco did then and there intentionally cause the
death of an individual, Delfino Sierra, by shooting Delfino Sierra with a deadly weapon, to-wit: a
firearm, and that such offense was a felony committed in furtherance of the unlawful purpose to
commit robbery of Delfino Sierra and was an offense that should have been anticipated by the
Defendant as a result of carrying out the conspiracy, then you will find the Defendant guilty of
capital murder, though he may have no intent to commit capital murder, as charged in the
Indictment.” 2008 U.S. App. LEXIS 22164 at 19-20 (ellipses in original).
7
  The Fifth Circuit may also rule in Gongora’s case about the applicability of Apprendi v. New
Jersey, 530 U.S. 466 (2000), and Ring v. Arizona, 536 U.S. 584 (2002), to Tison challenges on
federal habeas review. 2008 U.S. App. LEXIS 22164 at 20 n.4. Mr. Murphy makes a similar
argument in his case, infra.
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       The Supreme Court has clearly established the principle that a criminal defendant is

entitled to a jury finding beyond a reasonable doubt of all facts exposing him to his punishment.

“[U]nder the Due Process Clause of the Fifth Amendment and the notice and jury trial

guarantees of the Sixth Amendment, any fact (other than prior conviction) that increases the

maximum penalty for a crime must be charged in an indictment, submitted to a jury, and proven

beyond a reasonable doubt.” Jones v. United States, 526 U.S. 227, 243 n.6 (1999). Through the

Fourteenth Amendment the Supreme Court applied this rule to state crimes in Apprendi v. New

Jersey, 530 U.S. 466 (2000). In Apprendi, the defendant was convicted of the second degree

felony of possession of a prohibited weapon, but he was then sentenced to a term only available

to a first degree offender based on the trial judge’s finding that his purpose for possessing the

weapon was to intimidate another on the basis the victim’s race. Apprendi, 530 U.S. at 492. The

Apprendi Court dismissed New Jersey’s argument that the judge’s finding was merely a sentence

enhancer because Apprendi’s sentence was outside the prescribed range for second degree

offenses and thus the finding of racial animus was “the functional equivalent of an element of a

greater offense.” Id. at 494 n.19. Apprendi holds that the jury must make all necessary findings

that authorize the punishment that the defendant ultimately receives. See Profitt v. Florida, 428

U.S. 242, 252 (1976) (“It has never [been] suggested that jury sentencing is constitutionally

required.”).

       Two years later, Ring applied the principles and the holding of Apprendi to the findings

that make convicted murderers death eligible under state laws. The Ring Court held that “[t]he

right to trial by jury guaranteed by the Sixth Amendment would be senselessly diminished if it

encompassed the factfinding necessary to increase a defendant's sentence by two years, but not

the factfinding necessary to put him to death. We hold that the Sixth Amendment applies to



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both.” 536 U.S. at 609. In Ring, the defendant was convicted of felony murder by a jury, and

under the Arizona law at the time a judge was empowered to sentence him to death. That judge

correctly realized that a conviction for felony murder could not lead a death sentence unless Ring

was the actual murderer or he met the Tison standard. Id. at 594. After a hearing, he found that

Ring was death eligible, his crime contained aggravating circumstances, and Ring lacked

sufficient mitigating circumstances so he sentenced him to death. Under Arizona law at the time,

the jury verdict alone was insufficient to impose the death penalty. While the Supreme Court

had found no Sixth Amendment right to jury fact finding in Walton v. Arizona, 497 U.S. 639

(1990), the Ring court decided that after Apprendi, Walton was necessarily overruled. The

aggravating factors were “the functional equivalent of an element of a greater offense” and must

be submitted to a jury. 536 U.S. at 609.

       The same result must obtain in this case. Under Enmund and Tison, only certain murders

can lead to a sentence of death. Moreover, there is no reason why the Enmund and Tison factors

should be treated any differently from the aggravating factors that must be found beyond a

reasonable doubt by a jury before a death sentence is cognizable. The law threatens all those

who conspire to commit a felony where death is a foreseeable result with time in jail, but it only

threatens additional pains – death – to those who intend to kill or those who, recklessly

indifferent to human life, participate substantially in carrying out the felony. Apprendi and Tison

make clear that these additional factors are the facts that make death possible. As such, they are

functionally elements of the offense. Mr. Murphy is entitled to a jury finding that his conduct




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makes him death eligible. That his jury made no such finding dictates that his death sentence

cannot stand.8

       For the purposes of the Sixth Amendment it does not matter why a fact is necessary to a

punishment, only that it is. Ring, 536 U.S. at 610 (“whether the statute calls them elements of

the offense, sentencing factors, or Mary Jane”) (Scalia, J., concurring). There never was any jury

finding that Mr. Murphy had any participation at all in the robbery. He cannot legally be

sentenced to death until there is.

II.    MR. MURPHY WAS DEPRIVED OF EFFECTIVE ASSISTANCE OF COUNSEL
       AT BOTH STAGES OF HIS CAPITAL MURDER TRIAL BY COUNSEL’S
       FAILURE TO SEEK A CHANGE OF VENUE IN VIOLATION OF THE SIXTH
       AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
       CONSTITUTION.

       A.        The Controlling, Clearly-Established Supreme Court Precedent.

       A criminal defendant is deprived of effective assistance of counsel when (1) counsel’s

performance falls below an objective standard of reasonableness, as judged by prevailing

professional norms, and (2) a reasonable probability exists that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different. Strickland v. Washington, 466.

U.S. 668, 688, 694 (1984).

8
  Several years before Apprendi, the Supreme Court held that the Enmund findings need not be
made by a jury because “[i]f a person sentenced to death in fact killed, attempted to kill, or
intended to kill, the Eighth Amendment itself is not violated by his or her execution regardless of
who makes the determination of the requisite culpability.” Cabana v. Bullock, 474 U.S. 376, 386
(1986). This is technically still true today, but it entirely avoids the Sixth Amendment issue
addressed in Ring. In fact, the Sixth Amendment is mentioned only once in Bullock for the
proposition that the Sixth Amendment does not require jury sentencing, which is still true but not
relevant to the instant claim. See Bullock, 474 U.S. at 375. Nothing in Bullock contradicts
applying the Sixth Amendment holding of Ring to Tison. In fact, Bullock is extensively cited by
the court’s opinion in Walton in support of the very propositions overruled by Ring. Unlike
Bullock, Ring addresses the relevant Sixth Amendment issue noting, as in Apprendi, that under
English law at the time of the Bill of Rights “the jury's role in finding facts that would determine
a homicide defendant's eligibility for capital punishment was particularly well established.” 536
U.S. at 599 (quoting Walton, 499 U.S. at 710-11 (Stevens, J., dissenting)).
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       The prejudice inquiry “finds its roots in the test for materiality of exculpatory information

not disclosed to the defense by the prosecution.” Strickland, 466 U.S. at 694 (citing United

States v. Agurs, 427 U.S. 97, 104, 112-13 (1976)). Consequently, to prove prejudice, “a

defendant must show that there is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different. A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id.

       This test is not outcome determinative. The Strickland Court itself expressly rejected an

“outcome determinative standard” requiring the defendant to show that counsel’s deficient

conduct “more likely than not altered the outcome” of the case. Strickland, 466 U.S. at 693-94.

Instead, “[t]he result of a proceeding can be rendered unreliable, and hence the proceeding itself

unfair, even if the errors of counsel cannot be shown by a preponderance of the evidence to have

determined the outcome.” Id. Thus, the “reasonable probability” standard—a probability

sufficient to undermine confidence in the outcome—is a less onerous burden than even the

preponderance of the evidence standard.9    The Supreme Court reiterated this point in Williams

v. Taylor, 529 U.S. 362 (2000), expressly noting that a state court’s use of a preponderance of the

evidence standard rather than the less-onerous reasonable probability standard would result in a

decision that was contrary to federal law as determined by that Court. Id. at 405-06 (“If a state

court were to reject a prisoner’s claim of ineffective assistance of counsel on the grounds that the

prisoner had not established by a preponderance of the evidence that the result of his criminal

9
  In Bouchillon v. Collins, 907 F.2d 589 (5th Cir. 1990), the Fifth Circuit recognized that the
prejudice prong imposes “a lower burden of proof than the preponderance standard.” Id. at 595.
Even when “the evidence arguably supports a different result under a preponderance standard,” a
reviewing court still can be “confident that it meets the ‘reasonable probability’ standard.” Id.;
see also Buckner v. Polk, 453 F.3d 195, 203 (4th Cir. 2006) (reciting Strickland prejudice
standard of “reasonable probability” as “somewhat less than a preponderance of the evidence”);
Hodge v. Hurley, 426 F.3d 368, 376 n.18 (6th Cir. 2005) (Strickland standard “is a lesser
standard than preponderance of the evidence”).
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proceeding would have been different, that decision would be ‘diametrically different,’ ‘opposite

in character or nature,’ and ‘mutually opposed’ to our clearly established precedent because we

held in Strickland that the prisoner need only demonstrate a ‘reasonable probability that...the

result of the proceeding would have been different.’”).


         B.     Mr. Murphy’s Right to a Fair Trial Was Denied Because Extensive Pretrial
                Publicity Rendered It Impossible for an Impartial Jury to be Seated in Dallas
                County.


                1. The Pretrial Publicity Surrounding Mr. Murphy’s Case Was Extensive
                and Inflammatory.

         The coverage of Mr. Murphy’s case saturated Dallas County. Innumerable media reports

detailed the escape, the subsequent manhunt, the Oshman’s robbery and Aubrey Hawkins’

shooting, and the legal proceedings following the arrest of Mr. Murphy and his co-defendants.

See, e.g., Exhibit 1 (Jennifer Emily, Manhunt Centers on D-FW, DALLAS MORNING NEWS, Jan.

2, 2001) (reporting that the search for escapees was focused in the Dallas-Fort Worth area). The

intensity of the media interest is evidenced by the fact that Mr. Murphy and his co-defendants

were given the group moniker “the Texas 7” or the “Connally 7”—a dubious distinction reserved

for those criminal proceedings, such as those of the “Jena 6”, receiving significant media

coverage. See, e.g., Exhibit 2 (Jennifer Emily, Robbery Investigated for Link to Escapees,

DALLAS MORNING NEWS, Jan. 2, 2001). Many of these articles were accompanied by large

photo spreads of the Texas 7, drawing additional attention to the coverage. See, e.g., id.; Exhibit

3 (Jennifer Emily, Warrants to Expand Search for Escapees, DALLAS MORNING NEWS, Jan. 5,

2001).

         The near-daily presence of the story in the media was fueled not only by the sensational

nature of the underlying crimes, but by their wide-ranging effects on other issues of community

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concern, which received their own coverage. The escape, for instance, led to legislative hearings

on prison reform, at which both the victim’s widow and his mother testified. See, e.g., Exhibit 4

(Nancy San Martin, System Criticized by Family, DALLAS MORNING NEWS, Feb. 8, 2001).

Reports also focused on the tremendous financial burden that the trials would place on Dallas

County. See, e.g., Exhibit 5 (Tim Wyatt, Escapees Won’t Be Offered Plea Deals, DALLAS

MORNING NEWS, Jan. 30, 2001 (noting that the trials “could last more than a year and cost more

than $1 million)); Exhibit 6 (Grant to Help Dallas County Pay for Escapees’ Trials, DALLAS

MORNING NEWS, Feb. 10, 2001 (noting estimates that Dallas County “will spend $1.5 million to

$3 million to house and prosecute the defendants”)).

       This extensive reporting was not merely a dry recitation of the underlying facts,

moreover, but frequently contained highly inflammatory and prejudicial information about Mr.

Murphy. Numerous articles appeared in the DALLAS MORNING NEWS detailing Mr. Murphy’s

prior criminal history and linking the escape to other violent episodes in the Texas prison system.

See, e.g., Exhibit 7 (David McLemore, Search for Prison Escapees Expands, DALLAS MORNING

NEWS, Dec. 15, 2000). Others contained highly prejudicial information asserting that Mr.

Murphy followed a bizarre religious movement called Odinism that involves the worship of “a

divine sorcerer and a master of occult terrors”, Exhibit 8 (Holly Becka, 2 Escapees Still on Run

After 4 Others Arrested, DALLAS MORNING NEWS, Jan. 23, 2001), and quoting a family

member’s assertion that he is a “psycho” and has “a short fuse when it came to satisfying his

carnal urges.” Exhibit 9 (Steve McGonigle and Brenda Rodriguez, Families Fearing Worst,

DALLAS MORNING NEWS, Jan. 24, 2001 (also reporting Mr. Murphy’s alleged adherence to

Odinism)).




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       Reports that the Texas 7 were linked to other robberies that occurred after the escape

contributed to the media frenzy. See, e.g., Exhibit 1 (Jennifer Emily, Manhunt Centers on D-

FW, DALLAS MORNING NEWS, Jan. 2, 2001); Exhibit 10 (Jennifer Emily, Third Robbery May Be

Tied to Escapees, DALLAS MORNING NEWS, Jan. 22, 2001). Moreover, many reports contained

speculation that the escapees would not be captured without a violent standoff resulting in

additional deaths. See, e.g., Exhibit 11 (Holly Becka and Todd Besman, Escapees May Plan

Showdown, DALLAS MORNING NEWS, Dec. 28, 2000 (reporting that the Texas 7 had stolen “a

cache of weapons, ammunition and money” from Oshman’s and the prison from which they

escaped and that “authorities . . . say they fear the escapees won’t be taken without bloodshed”)).

       Not surprisingly, such reports produced significant fear and anxiety in Dallas County.

An article that appeared in the FORT WORTH STAR-TELEGRAM, for instance, contained interviews

with local residents who stated that their fears of the Texas 7 were leading them to change their

daily routines. Exhibit 12 (Jan Jarvis, Handgun Lessons, Alarm Sales up as Fugitives Remain

Free, FORT WORTH STAR-TELEGRAM, Jan. 6, 2001).10 Based on such interviews, the reporter

noted that “[o]verall anxiety is heightened” in the area since the Christmas Eve robbery and

shooting. Id. Indeed, a local instructor of a handgun class was “perplexed” when he began to

receive “five times the calls he usually receives” about his class until “someone said it’s that

‘Connally 7,’ and that’s exactly what it was.” Id.

       The reporting also focused considerable attention on the plight of the victim’s family.

See, e.g., Exhibit 4 (Nancy San Martin, System Criticized by Family, DALLAS MORNING NEWS,

10
   “Concerned about encountering the fugitives, more people are locking their car doors, turning
on their home alarms and looking over their shoulders. ‘Some people won’t let their wives walk
at night,’ said Jack Griffith, an Arlington instructor of concealed handgun use. ‘And every time
they go into an Oshman’s or a 7-Eleven they think about it.’” Exhibit 12 (Jan Jarvis, Handgun
Lessons, Alarm Sales up as Fugitives Remain Free, FORT WORTH STAR-TELEGRAM, Jan. 6,
2001).
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Feb. 8, 2001 (describing Aubrey Hawkins’ widow crying in testimony before the Texas

legislature: “I live alone now . . . . I live with his clothes in the closet, his car in the garage and

his toothbrush still in the same place he left it.”)); Exhibit 13 (James Ragland, Officer’s Mom

Clings to Memories, DALLAS MORNING NEWS, Jan. 8, 2001); Exhibit 14 (David Flick, Lives

Forever Torn, DALLAS MORNING NEWS, Jan. 25, 2001). A particularly poignant letter to the

editor of the DALLAS MORNING NEWS appeared in the paper on January 7, 2001. Exhibit 15

(Rose Roberts Cannady, A Very Silent Night, DALLAS MORNING NEWS, Feb. 10, 2001). Written

by the wife of the Chief of the Irving Police Department, it described the ordeal of notifying the

victim’s family and friends that he had been killed11 and the devastation that followed:

        Left in the aftermath of this senseless killing are the shattered dreams of his family. The
        presents that sat unopened under the Christmas tree became a constant reminder that
        Aubrey was not coming home, and that the innocence of a young child’s Christmas was
        forever ruined.

Id. The letter appeared in the DALLAS MORNING NEWS again on February 10, 2001, after

receiving the Golden Pen Award from the paper. Id.

        New stories similarly devoted attention to the effect that Aubrey Hawkins’ death had on

the Irving Police Department, and linked the shooting to the dangers faced by all police officers.

See Exhibit 15 (Rose Roberts Cannady, A Very Silent Night, DALLAS MORNING NEWS, Feb. 10,

2001 (“Aubrey’s co-workers are also struggling with the pain and frustration at the loss of a

fellow officer. However, the sad and frightening reality of Aubrey’s death for police families is

that somewhere in America an officer will die every 2 ½ days in the line of duty. Officer

11
  “It’s Christmas Eve[,] for God’s sake. How do you tell a wife her husband is not coming
home? How do you tell a 9-year-old son his father is dead? How do you tell a mother her only
child has just died? Like angels of death, we rolled in the darkness of night from one home to
another delivering a message that no one wanted to believe. Officer Hawkins was a fine young
man, an outstanding officer dedicated to his job of protecting the community. His quick
response to the robbery at Oshman’s probably saved lives, but cost him his own.” Exhibit 15
(Rose Roberts Cannady, A Very Silent Night, DALLAS MORNING NEWS, Feb. 10, 2001).
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Hawkins’ death on Christmas Eve reinforces the fact that policing is a dangerous profession

every day of the year.”)); Exhibit 16 (Jennifer Emily, Death of Officers More Personal in

Smaller Departments, Many Say, DALLAS MORNING NEWS, Jan. 5, 2001).

       Not surprisingly, the local community responded with an outpouring of sympathy for the

bereaved, which received its own coverage. See, e.g., Exhibit 17 (James Ragland, Behind the

Blue, Fear’s a Fact of Life, DALLAS MORNING NEWS, Jan. 10, 2001); Exhibit 18 (Laurie Fox,

Dinner Aids Son of Officer, DALLAS MORNING NEWS, Feb. 11, 2001 (detailing local events and

memorial funds to benefit victim’s son and widow)). Perhaps the most telling indication of the

local community’s fascination with the case and sympathy for the victim is the fact that Aubrey

Hawkins’ funeral was broadcast live in the Dallas area. Exhibit 11 (Holly Becka and Todd

Besman, Escapees May Plan Showdown, DALLAS MORNING NEWS, Dec. 28, 2000 (providing

information for Aubrey Hawkins’ burial and memorial services and noting that “Texas Cable

News (cable Channel 38 in Dallas) will broadcast the funeral beginning at 11 a.m.”).

       The media coverage continued apace through the arrest of Mr. Murphy and his co-

defendants. These reports contained extra-judicial admissions of guilt made by co-defendants to

the media. For instance, George Rivas gave a telephone interview from the Teller County Jail in

Colorado with a local news affiliate (WFAA-TV, Channel 8), in which he admitted to shooting

Officer Hawkins and asserted that “he thinks he deserves a death sentence and . . . hopes his

execution will bring some solace to the slain officer’s family.” Exhibit 19 (Selwyn Crawford,

Rivas Changes Story, Admits Escapees Had Help, DALLAS MORNING NEWS, Jan. 28, 2001).

Other reports included admissions made by Michael Rodriguez, see Exhibit 20 (Todd Bensman

and Tim Wyatt, Rivas Returned to Dallas for Trial, DALLAS MORNING NEWS, Feb. 2, 2001), and




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by Larry Harper, see Exhibit 21 (Jennifer Emily and Todd Bensman, Escape Saga on its Way to

Dallas, DALLAS MORNING NEWS, Jan. 26, 2001).

        Indeed, written findings issued by the trial court in co-defendant George Rivas’ case on

February 2, 2001, document the extent of the media coverage through the early stages of the

case:

        There has been extensive media coverage of this case throughout the initial investigation,
        arrest, and grand jury proceedings. There is no indication that delaying the trial of this
        case would lessen the amount of pretrial publicity in this case, and the Court so finds.

        There has been extensive news coverage of inculpatory statements allegedly made the
        defendant in this case which may or may not be admissible in the trial of this case.

        There has been extensive news coverage concerning the events surrounding the
        commission of this offense and possible extraneous offenses occurring both before and
        after the time of the offense alleged in this case.

        There has been extensive news coverage concerning statements made to the press relating
        to the number and type [of] firearms seized, the type of firearms involved in the offense,
        and who may or may not have fired shots during the offense with which the defendant is
        charged.

        Statements have been made to, and reported by, the press regarding what punishment the
        defendant feels he deserves.

Exhibit 22 (Court’s Findings Regarding Publicity, Feb. 2, 2001, at 1).12

        This extensive—and prejudicial—reporting regarding Mr. Murphy’s co-defendants only

intensified as their trials were held and each was convicted and sentenced to death. See, e.g.,

Exhibit 23 (Holly Becka, Witnesses Recount Inmates’ Attack, DALLAS MORNING NEWS, Aug. 15,

2001 (providing detailed summary of testimony at Rivas’ trial and including photograph of

exhibit showing the multiple gunshot wounds Aubrey Hawkins suffered)); Exhibit 24 (Holly

Becka and Jennifer Emily, Rivas Sentenced to Die, DALLAS MORNING NEWS, Aug. 30, 2001

12
  Though the order was issued initially in the case of Texas 7 member George Rivas, the court
subsequently made clear that her findings and order restricting publicity applied to all of the
Texas 7 cases, including Mr. Murphy’s. R.R. Vol. 3: 6.
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(reporting jury’s conviction and sentence; the reaction of the victim’s family upon hearing the

news, including extensive quotations; and the prosecutors’ pleas that Mr. Rivas be sentenced to

death “to show Andrew Hawkins that ’12 good people brought his father’s killer to justice.’”));

Exhibit 25 (Holly Becka, Newbury Faces Life or Death, DALLAS MORNING NEWS, Jan. 19, 2002

(including Mr. Newbury’s confession and noting that the jury took only 35 minutes to convict

Newbury)); Exhibit 26 (Terri Langford, Second Escapee Gets Death, DALLAS MORNING NEWS,

Jan. 29, 2002 (quoting the victim impact statements made by Aubrey Hawkins’ widow and

mother and noting that jurors took approximately an hour to sentence Mr. Newbury to death);

Exhibit 27 (Holly Becka, Rodriguez Sentenced to Death for Slaying, DALLAS MORNING NEWS,

May 10, 2002 (quoting emotional victim impact statements));13 Exhibit 28 (Holly Becka,

Escapee Sentenced to Die for Slaying, DALLAS MORNING NEWS, Feb. 14, 2003 (same)); Exhibit

29 (Robert Tharp, Fifth to Die in Officer’s Slaying, DALLAS MORNING NEWS, June 13, 2003

(same)).

               2. In Light of This Extensive Pretrial Publicity, Mr. Murphy’s Right to Be
               Tried by an Impartial Jury Could Not Possibly Have Been Vindicated.

       The right to a jury trial guarantees a criminal defendant a fair trial by a panel of impartial,

indifferent jurors, and the failure to accord an accused a fair hearing violates even the minimum

standards of due process. Irvin v. Dowd, 366 U.S. 717, 722 (1961) (citing In re Oliver, 333 U.S.

257 (1948); Tumey v. Ohio, 273 U.S. 510 (1927)). A juror’s verdict must be based upon the

evidence developed at the trial, regardless of the heinousness of the crime charged, the apparent

guilt of the offender, or the station in life which he occupies. Id.




13
  The fact that many of these headlines reference Mr. Murphy’s co-defendants by name is
further evidence of the pervasiveness of the coverage: the paper’s editors were clearly confident
that readers were familiar with the case and the names of the defendants.
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       Due process and the right to a fair trial are denied to the accused whenever prejudice or

passion is allowed to undermine the impartial administration of justice. See Chambers v.

Florida, 309 U.S. 227, 236-37 (1940); see also Moore v. Dempsey, 261 U.S. 86 (1923) (mob

dominated atmosphere is a denial of due process); Sheppard v. Maxwell, 384 U.S. 333 (1966)

(extensive inflammatory publicity denied due process and a fair trial). One of the primary

procedural safeguards against the influence of “prejudice, passion, [and] excitement” is the

change of venue. See Irvin, 366 U.S. at 721. Under certain circumstances only a change of

venue is sufficient to ensure the kind of fair trial mandated by the Sixth and Fourteenth

Amendments to the United States Constitution. See, e.g., Rideau v. Louisiana, 373 U.S. 723

(1963).14

       Prejudice may be presumed from the totality of the circumstances. For example, a

defendant can demonstrate that prejudicial, inflammatory publicity about his case so saturated

the community from which his jury was drawn as to render it virtually impossible to obtain an

impartial jury. See, e.g., Sheppard v. Maxwell, 384 U.S. 333 (1966); Estes v. Texas, 381 U.S.

532, 542-43 (1965); Mayola v. Alabama, 623 F.2d 992, 996-997 (5th Cir. 1980); Pamplin v.

Mason, 364 F.2d 1 (5th Cir. 1966). Proof of such poisonous publicity raises a presumption that

the defendant’s jury was prejudiced, relieving him of the obligation to establish actual prejudice.

Mayola, 623 F.2d at 997; see also Estes, 381 U.S. at 543-44.

       Mr. Murphy’s is precisely the type of case in which such prejudice should be presumed.

The media coverage in Mr. Murphy’s case was relentless, saturating Dallas County for close to

three years before Mr. Murphy’s trial commended in November of 2003. Though the escape



14
  The Texas Code of Criminal Procedure incorporates these constitutional safeguards by
providing a statutory mechanism for parties to seek a change of venue or for a trial court to
change a trial’s venue sua sponte. TEX. CODE CRIM. PROC. Art. 31.01 – 31.09 (2004).
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garnered national attention, there is no question that the coverage reached a level of intensity in

Dallas County that was unmatched in other media markets. As the DALLAS MORNING NEWS

reported, the search for Mr. Murphy and his co-defendants was focused in the Dallas-Forth

Worth area. See Exhibit 1 (Jennifer Emily, Manhunt Centers on D-FW, DALLAS MORNING

NEWS, Jan. 2, 2001). The fact that the victim of the shooting was a police officer from Dallas

County further heightened the degree of media attention, as reports focused both on his status as

an officer killed in the line of duty and on the outpouring of community sympathy for his family.

Finally, Mr. Murphy was the last of the escapees to be tried. He therefore suffered the unique

prejudice of being tried in a county where the details of his co-defendants’ trials—including the

fact that each of them was convicted and sentenced to death—were splashed across the headlines

in the months leading up to his trial. Given this pervasive and inflammatory pretrial publicity, it

was impossible for a fair and impartial jury to be selected in Dallas County.

       C.      Trial Counsel’s Failure to Seek a Change of Venue Was Objectively
               Unreasonable and Prejudiced Mr. Murphy.

       Reasonably competent counsel should have sought a change of venue in Mr. Murphy’s

case. As noted above, there were judicial findings made in February of 2001 regarding the

media frenzy that accompanied the case, of which counsel should have been aware.15 Moreover,

counsel should have been aware that the trial court was amenable to granting such a motion, as

co-defendant Michael Rodriguez’s attorneys sought and received a change of venue for his trial.


15
   In light of these findings, the court issued an order restricting publicity and made a further
finding that “the out-of-court statements relating to the investigation and trial of this cause pose a
serious and imminent threat to the defendant’s constitutional right to a fair trial, and to the fair
administration of justice.” Exhibit 30 (Restrictions Regarding Publicity, Feb. 2, 2001, at 1). As
the extensive and inflammatory media coverage that followed makes clear, the court’s order
restricting publicity—which placed restrictions only on what direct trial participants could
disseminate to the media and did not limit media coverage more generally—was insufficient to
stem the tide of highly prejudicial publicity.

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At the hearing that was held on that motion on January 31, 2002, Mr. Rodrigeuz’s attorneys

noted that the “Dallas television media have [aired] in excess of 650 stories” and the “Dallas

print media has printed more than 45,000 or 50,000 words.” Exhibit 31 (State v. Rodriguez, F01-

00326-T, R.R. Vol. 5: 6). They went on to note that “[t]his is far in excess of any other place in

the State of Texas,” id., and that “the Dallas media has carried and covered this in a uniquely

different way because of the fact that the last two trials have been covered daily and have been in

Dallas County.” Id. at 7. The court accepted counsel’s arguments and granted the motion. Id. at

9.

       Mr. Murphy was prejudiced by counsel’s failure to seek a change of venue. Given the

court’s ruling on Mr. Rodriguez’s motion, there is every reason to believe that the court would

have granted such a motion. Indeed, Mr. Murphy’s motion would have been supported by even

more powerful evidence than was Mr. Rodriguez’s, given that Mr. Murphy was the final co-

defendant to be tried. The presumption of prejudice to which Mr. Murphy is entitled on the

underlying claim, moreover, satisfies the prejudice finding necessary under Strickland. See

Meeks v. Moore, 216 F.3d 951, 967-68 (11th Cir. 2000) (noting that a finding of presumed

prejudice would satisfy Strickland’s mandated, but denying habeas relief based on an insufficient

showing of either presumed or actual prejudice).

III.   MR. MURPHY WAS DEPRIVED OF THE EFFECTIVE ASSISTANCE OF
       COUNSEL IN THE SENTENCING PHASE OF HIS CAPITAL MURDER TRIAL
       IN VIOLATION OF THE SIXTH AND FOURTEENTH AMENDMENTS TO THE
       UNITED STATES CONSTITUTION.

       A.      The Controlling, Clearly-Established Supreme Court Precedent.

       The introduction to Mr. Murphy’s claim that he was denied the effective assistance of

counsel due to counsel’s failure to seek a change of venue sets out the Strickland standard

applicable to these claims. With respect to how a court should analytically conduct the prejudice

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inquiry in an individual case—particularly in relation to claims of ineffective assistance at the

punishment phase—several additional points require mentioning. First, in making the

determination whether counsel’s errors resulted in the required prejudice, a court must presume

that the jury acted according to law. Strickland, 466 U.S. at 694. In other words, “[t]he

assessment of prejudice should proceed on the assumption that the decisionmaker is reasonably,

conscientiously, and impartially applying the standards that govern the decision.” Id. at 695.

Therefore, not only does one presume that the decisionmaker followed the law, the law itself

(i.e., “the standards that govern the [sentencing] decision”) must be considered when

determining whether a probability sufficient to undermine confidence in the outcome exists.

       The prejudice inquiry is therefore case-specific, in that it is an attempt to assess the effect

that trial counsel’s deficient performance had on the reliability of the outcome of a particular

proceeding. In many death penalty states, sentencing laws require that the sentence in a capital

case—life or death—be determined by weighing aggravating factors found to exist by the

decisionmaker against mitigating factors found to exist by the decisionmaker. If the jury

determines that the mitigating factors outweigh the aggravating factors, the jury is instructed to

return a verdict of life. If, however, the jury determines that the aggravating factors outweigh the

mitigating factors, then the jury is instructed to return a verdict of death.16 In these cases, “the

question is whether there is a reasonable probability that, absent the errors, the sentencer …

16
  E.g., Cal. Penal Code § 190.3 (“the trier of fact … shall impose a sentence of death if the trier
of fact concludes that the aggravating circumstances outweigh the mitigating circumstances. If
the trier of fact determines that the mitigating circumstances outweigh the aggravating
circumstances the trier of fact shall impose a sentence of confinement in state prison for a term
of life without the possibility of parole”); Fla. Stat. ch. 921.141 (trier of fact must determine
“[w]hether sufficient mitigating circumstances exist which outweigh the aggravating
circumstances found to exist”); Md. Code Ann., Criminal Law § 2-303(i)(1) (“If the court or jury
finds that one or more of the mitigating circumstances … of this section exists, it shall determine
by a preponderance of the evidence whether the aggravating circumstances … of this section
outweigh the mitigating circumstances.”).

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would have concluded that the balance of aggravating and mitigating circumstances did not

warrant death.” Strickland, 466 U.S. at 695.

       A court reviewing a judgment imposing death from Texas, however, would not ask this

precise question, because the sentencing laws that govern Texas capital trials do not require the

decisionmaker to weigh aggravating factors and mitigating factors when deciding what penalty

to assess. Instead, Texas asks jurors to answer two “special issues.”17    The special issues are

questions of fact that the jury must answer either “yes” or “no.” Depending upon how these

questions are answered, the trial court sentences the defendant to either life or death.

       The first special issue a Texas jury is required to answer is “whether there is a probability

that the defendant would commit criminal acts of violence that would constitute a continuing

threat to society.” Tex. Code Crim. Proc. art. 37.071, § 2(b)(1). The second special issue a

Texas jury is required to answer in a case such as Mr. Murphy’s, where he was convicted as a

party, is whether they find “beyond a reasonable doubt that the defendant did not actually cause

the death of the deceased, but intended to kill the deceased or another or anticipated that a human

life would be taken.” Id. at §2(b)(2). The third special issue Mr. Murphy’s jury was instructed

to answer asked:

       Whether, taking into consideration all of the evidence, including the
       circumstances of the offense, the defendant’s character and background, and the
       personal moral culpability of the defendant, there is a sufficient mitigating
       circumstance or circumstances to warrant that a sentence of life imprisonment
       without parole rather than a death sentence be imposed.

Id. at § 2(e)(1). If the jury answers the first and second special issue “yes” and the third special

issue “no,” the trial court must impose a sentence of death. For any other combination of

17
  In a minority of cases, the sentencing jury must answer three questions. The third question
asks whether the defendant intended or anticipated loss of life. The jury is given this third
special issue only when the jury was charged in the guilt phase under Texas’s law of parties.
Tex. Code Crim. Proc. art. 37.071 ' 2(b)(2).

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answers—including the inability of the jury to unanimously agree on an answer for any

question—the trial court must assess a sentence of life. Tex. Code Crim. Proc. art. 37.071, §

2(g).

        In making the prejudice determination, a court must consider the totality of the evidence

before the jury and then assess the effect the errors might have had on any of the fact findings

made by the sentencer. As the Strickland Court observed:

        Some of the factual findings will have been unaffected by the errors, and factual
        findings that were affected will have been affected in different ways. Some errors
        will have had a pervasive effect on the inferences to be drawn from the evidence,
        altering the entire evidentiary picture, and some will have had an isolated, trivial
        effect. Moreover, a verdict or conclusion only weakly supported by the record is
        more likely to have been affected by errors than one with overwhelming record
        support. Taking the unaffected findings as a given, and taking due account of the
        effect of the errors on the remaining findings, a court making the prejudice
        inquiry must ask if the defendant has met the burden of showing that the decision
        reached would reasonably likely have been different absent the errors.

Strickland, 466 U.S. at 695-96. Thus, a court reviewing how counsel’s errors affected the

punishment phase of a Texas capital sentencing proceeding must examine the relevant special

issue (i.e., the “factual findings”) to determine whether and to what extent it may have been

affected in light of the evidence before the jury.18



18
   The Supreme Court’s opinion in Williams v. Taylor, 529 U.S. 362 (2000), is instructive for
Texas cases. In that case, the Court considered whether Williams was prejudiced during the
punishment phase of his Virginia capital murder trial by his trial counsel’s failure to discover and
present relevant mitigating evidence. Id. Although not identical, the standards governing the
Virginia capital sentencing scheme are similar to Texas’s scheme. At the time of Williams’
capital murder trial, Virginia law required the jury’s verdict to be in one of the following forms:
For a death sentence:
        We, the jury, on the issue joined, having found the defendant guilty of (here set
        out statutory language of the offense charged) and that (after consideration of his
        prior history that there is a probability that he would commit criminal acts of
        violence that would constitute a continuing serious threat to society) or his
        conduct in committing the offense is outrageously or wantonly vile, horrible or
        inhuman in that it involved (torture) (depravity of mind) (aggravated battery to the
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       The Texas Court of Criminal Appeals affirmed the above analytical framework for

reviewing the prejudice prong of an ineffective assistance claim in the punishment phase of a

Texas capital trial in Ex parte Gonzales, 204 S.W.3d 391 (Tex. Crim. App. 2006). There, the

Court of Criminal Appeals wrote:

       Second, the applicant must show that counsel’s performance prejudiced his
       defense at trial. In order to satisfy this prong, an applicant must show there was a
       reasonable probability that, absent the errors, the jury would have concluded that
       the balance of the aggravating and mitigating circumstances did not warrant
       death. Texas’ capital sentencing scheme does not involve the direct balancing of
       aggravating and mitigating circumstances. It asks the jury to answer a mitigation
       issue. We have adapted the Supreme Court’s prejudice test to require a showing
       that there is a reasonable probability that, absent the errors, the jury would have
       answered the mitigation issue differently. “A reasonable probability is a
       probability sufficient to undermine confidence in the outcome.”




       victim), and having considered the evidence in mitigation of the offense,
       unanimously fix his punishment at death.
Va Code § 19.2-264.4. For a life sentence:
       We, the jury, on the issue joined, having found the defendant guilty of (here set
       out statutory language of the offense charged) and having considered all of the
       evidence in aggravation and mitigation of such offense, fix his punishment at
       imprisonment for life.
Id. Unlike Texas, Virginia jurors were not given specific questions to which they must give yes
or no answers. See id. Like Texas, however, Virginia did not require jurors to weigh aggravating
factors against mitigating factors in order to make a decision, instead requiring them simply to
find one of two aggravating factors and then to consider the mitigating evidence before making a
decision. See id. Consequently, the Supreme Court was able to conclude that Williams suffered
prejudice even while conceding that the undiscovered mitigating evidence “may not have
overcome a finding of future dangerousness,” because that mitigating evidence “might well have
influenced the jury’s appraisal of his moral culpability.” Williams, 529 U.S. at 397-98. Because
Texas is like Virginia in that it does not require the jury to find one set of factors to outweigh
another set, this standard is appropriate to review allegations of ineffective assistance of counsel
in the punishment phase of Texas capital cases. See also Wiggins v. Smith, 539 U.S. 510, 538
(2003) (“available mitigating evidence, taken as a whole, might well have influenced the jury’s
appraisal of Wiggins’ moral culpability” (internal quotations omitted)); Rompilla v. Beard, 545
U.S. 374, 393 (2005) (“undiscovered mitigating evidence, taken as a whole, might well have
influenced the jury’s appraisal of Rompilla’s culpability” (internal quotations and brackets
omitted)).

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Id. at 393-94 (internal citations omitted). In making the prejudice inquiry, a court “consider[s]

the totality of the evidence, ‘both that adduced at trial, and the evidence adduced in the habeas

proceeding.’” Id. at 398 (citing Wiggins, 539 U.S. at 534). The Gonzales Court determined that

Gonzales had suffered prejudice from his counsel’s failure to locate and present mitigating

evidence because the “mitigating evidence, taken as a whole, ‘might well have influenced the

jury’s appraisal’ of the applicant’s moral culpability.” Gonzales, 204 S.W.3d at 399 (quoting

and citing Wiggins, 539 U.S. at 538).

       From 2000 to 2005, the U.S. Supreme Court accepted three cases to address effective

representation at the sentencing phase of a capital trial: Rompilla v. Beard, 545 U.S. 374 (2005)

(2005); Wiggins v. Smith, 539 U.S. 510 (2003); and Williams v. Taylor, 529 U.S. 362 (2000).

This trio of decisions addressed death penalty cases tried in the 1980's, and the Court held in

each instance that the clearly established law of Strickland mandated a finding of ineffective

assistance of counsel and thus that AEDPA posed no bar to relief. Rompilla, 545 U.S. at 374;

Wiggins, 539 U.S. at 510; Williams, 529 U.S. at 362.

       While Rompilla, Wiggins, and Williams are not ground-breaking in the sense that they

represent clearly-established law, they provide a detailed set of instructions to lower courts on

the proper application of Strickland to capital sentencing proceedings. That the Court deemed

such instruction necessary is evident from the fact that it devoted its scarce resources to taking

not one but three, relatively speaking, unremarkable capital cases and modeling how to

adjudicate claims of ineffective assistance of counsel. The Court scrupulously enforced the right

to effective assistance of counsel in capital sentencing proceedings, even under the deferential

scheme of AEDPA.




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       Just as its decisions in Tennard v. Dretke, 542 U.S. 274 (2004); Abdul-Kabir v.

Quarterman, 550 U.S. 233 (2007); and Brewer v. Quarterman, 550 U.S. 286 (2007), reanimated

the rule of Penry v. Lynaugh, 492 U.S. 302 (1989), after a decade-and-a-half of lower court

precedent had rendered it essentially dead letter, this trio of decisions reflects the Court’s strong

dissatisfaction with the direction of lower court Sixth Amendment jurisprudence during the

sixteen years following Strickland. They likewise overturn a vast body of inconsistent lower

court cases that had accumulated during the interim.

       In Williams v. Taylor, 592 U.S. at 362, the Supreme Court assessed Williams’ 1986

capital trial through the prism of clearly established Supreme Court precedent. When assessing

the potential impact of mitigating evidence, the Williams Court emphasized that whether the

mitigating evidence might have resulted in a different outcome is an entirely separate question

from whether it negates future dangerousness or the prosecution’s case for death eligibility. Id.

at 398. Specifically, “[m]itigating evidence unrelated to dangerousness may alter the jury’s

selection of penalty, even if it does not undermine or rebut the prosecution's death-eligibility

case.”19 Id. (emphasis added). Thus, the Court made it clear that prejudice inures even if the

omitted evidence does not rebut the State’s case for death eligibility. The question is not

whether there is sufficient evidence to justify a death sentence; rather, it is whether the totality of

the mitigating evidence “might well have influenced the jury’s appraisal of [the defendant’s]

moral culpability.” Id.; see, e.g., Kyles v. Whitley, 514 U.S. 419, 434-35 (1995) (stating that the

Brady and Strickland prejudice test is “not a sufficiency of evidence test”).


       19
           This is particularly true in Texas cases because the jury is asked to assess the
defendant’s future dangerousness in the first special issue. Tex. Code Crim. Proc. art. 37.071.
The jury proceeds to the second special issue only if it unanimously determines that the
defendant may pose a future danger. Id. The second special issue is an entirely separate and
distinct inquiry into the defendant’s moral culpability in light of any mitigating evidence. See id.

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       As the Court noted, either Williams’ tragic childhood or his borderline mental retardation

was sufficient to justify a finding of Strickland prejudice, even though the prosecution proved

that Williams was very dangerous defendant who had repeatedly committed vicious crimes.

Williams, 529 U.S. at 398. The Virginia Supreme Court’s conclusion to the contrary that

Williams had not shown prejudice “was unreasonable in at least two respects.” Id. at 397. First,

it had mistakenly read Lockhart v. Fretwell, 506 U.S. 364 (1993), as having grafted on an

additional requirement to Strickland’s test for prejudice. Williams, 529 U.S. at 397. Second,

“the State Supreme Court’s prejudice determination was unreasonable insofar as it failed to

evaluate the totality of the available mitigation evidence—both that adduced at trial, and the

evidence adduced in the habeas proceeding in reweighing it against the evidence in aggravation.”

Id. at 397-98; see also id. at 416 (O’Connor, J., concurring) (stating that the Virginia Supreme

Court’s application of Strickland was unreasonable because of the “failure to consider the totality

of the omitted mitigation evidence.”).

       Three years following its decision in Williams, the Court revisited the issue of capital

defense investigation and representation in Wiggins v. Smith, 529 U.S. 510 (2003). Wiggins was

convicted of drowning 77-year-old Florence Lacs in her bathtub and ransacking her apartment.

Id. at 514. In preparation for the sentencing proceeding, trial counsel investigated and developed

mitigating evidence, including “psychological reports and expert testimony demonstrating

Wiggins’ limited intellectual capacities and childlike emotional state on the one hand, and the

absence of aggressive patterns in his behavior, his capacity for empathy, and his desire to

function in the world on the other.” Id. at 516. “At no point did [trial counsel] proffer any

evidence of petitioner’s life history or family background.” Id.




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       In post-conviction proceedings, Wiggins “challenged the adequacy of his representation

at sentencing, arguing that his attorneys had rendered constitutionally defective assistance by

failing to investigate and present mitigating evidence of his dysfunctional background.” Id.

Wiggins’ trial counsel acknowledged that he did not retain “a forensic social worker to prepare a

social history, even though the State made funds available for that purpose.” Id. at 517. The

Maryland Court of Appeals held that trial counsel made “‘a deliberate, tactical decision to

concentrate their effort at convincing the jury’ that appellant was not directly responsible for the

murder.” Id. at 518 (quoting Wiggins v. State, 724 A.2d 1, 15 (Md. 1999)). Trial counsel “knew

of Wiggins’ unfortunate childhood” and had “‘social service records that recorded incidences of

physical and sexual abuse, an alcoholic mother, placements in foster care, and borderline

retardation.’” Wiggins, 539 U.S. at 518 (quoting Wiggins, 724 A.2d at 15). The Maryland court

“acknowledged that this evidence was neither as detailed nor as graphic as the history elaborated

in a subsequent report but emphasized that ‘counsel did investigate and were aware of

appellant’s background.’” Wiggins, 539 U.S. at 518 (quoting Wiggins, 724 A.2d at 16 (deleting

emphasis in original)). Because counsel knew that “at least one uncontested mitigating factor—

Wiggins’ lack of prior convictions—would be before the jury should their attempt to disprove

Wiggins’ direct responsibility for the murder fail,” the state court concluded that trial counsel

“‘made a reasoned choice to proceed with what they thought was their best defense.’” Wiggins,

539 U.S. at 518 (quoting Wiggins, 724 A.2d at 17).

       The federal district court granted habeas corpus relief but the Fourth Circuit reversed,

holding that counsel “had made a reasonable strategic decision to focus on petitioner’s direct

responsibility.” Wiggins, 539 U.S. at 519. Counsel knew “at least some details of Wiggins’

childhood,” though the Fourth Circuit “acknowledged that counsel likely knew further



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investigation ‘would have resulted in more sordid details surfacing.’” Id. Counsel’s knowledge

was thus sufficient to make an informed strategic decision. Id.

       Justice O’Connor, writing for a seven-member majority of the Court, concluded that

Wiggins’ counsel were ineffective during his 1989 capital trial, because their investigation failed

to satisfy Strickland’s performance standards, and the Maryland court’s conclusion to the

contrary was objectively unreasonable. Id. at 510. After identifying the two-part Strickland test

as controlling, the Court emphasized that “failure to uncover and present voluminous mitigating

evidence” could not be excused as trial counsel’s tactical decision. Id. at 522. Rather, this

failure indicated trial counsel had failed in their obligation to thoroughly investigate the

defendant’s history and background. Id. The Court emphasized counsel’s duty to investigate by

referring to the ABA Standards for Criminal Justice. Id.

       Because Wiggins’ complaint was that his counsel failed to conduct a thorough social

history investigation, the Court’s “principal concern in deciding whether [trial counsel] exercised

‘reasonable professional judgmen[t],’ [] is not whether counsel should have presented a

mitigation case. Rather, [the Court] focus[ed] on whether the investigation supporting counsel’s

decision not to introduce mitigating evidence of Wiggins’ background was itself reasonable.”

Id. at 522-23 (quoting Strickland, 466 U.S. at 691) (emphasis added and in the original).

       The Court then cataloged the investigative efforts of Wiggins’ counsel. Counsel retained

a psychologist who evaluated Wiggins and determined that he had a low IQ, “difficulty coping

with demanding situations,” and features of a personality disorder. Wiggins, 539 U.S. at 523.

Counsel had a pre-sentencing report, which included a one-page personal history noting

Wiggins’ “misery as a youth,” his self-reported “disgusting” background, and noting that he had




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spent most of his life in foster care. Id. Counsel also located and obtained Baltimore’s

Department of Social Services records documenting Wiggins’ placements in foster care. Id.

       The Court held that “counsel’s decision not to expand their investigation beyond the PSI

and the DSS records fell short of the professional standards that prevailed in Maryland in 1989.”

Id. More specifically, the Court faulted counsel for obtaining only a rudimentary understanding

of Wiggin’s social history from a narrow range of sources before making their allegedly strategic

decision. Id. at 524-25. The existence of extensive records regarding Wiggins’ extensive, long-

standing physical and sexual abuse indicated that the scope of trial counsel’s investigation was

unreasonable. Id. Moreover, counsel’s actions during trial indicated that they acted deficiently

and were not executing trial strategy. Id. at 526. For example, trial counsel referenced Wiggins’

“difficult life” during opening arguments, then failed to present any relevant testimony. Id.

       The Court concluded that “the ‘strategic decision’ the state courts and respondents all

invoke to justify counsel’s limited pursuit of mitigating evidence resembles more a post hoc

rationalization of counsel’s conduct than an accurate description of their deliberations prior to

sentencing.” Id. at 526-27.20 Just because trial counsel had some information regarding

Wiggins’ personal history, it should not be assumed that they were in a position to be able to

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          The Supreme Court’s willingness to subject the state court’s finding of trial strategy to
careful scrutiny in light of the actual record, and determine that it is more likely a post hoc
rationalization of trial counsel’s conduct, is consistent with the Supreme Court’s admonition that
the AEDPA “deference” does not require judicial abdication:
       Even in the context of federal habeas, deference does not imply abandonment or
       abdication of judicial review. Deference does not by definition preclude relief. A
       federal court can disagree with a state court’s credibility determination and, when
       guided by AEDPA, conclude the decision was unreasonable or that the factual
       premise was incorrect by clear and convincing evidence.
Miller-El v. Cockrell, 537 U.S. 322, 340 (2003). In Wiggins, as in Miller-El, the Supreme Court
demonstrated how to apply the AEDPA. A state court finding of trial strategy does not insulate
counsel’s performance from federal review. Federal courts must scrutinize the finding in light of
the record as a whole.

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make a tactical decision with respect to a mitigation defense. Id. at 527. Rather, the issue is

whether a reasonable attorney would perform additional investigation, in light of the presently-

available evidence. Id. Consequently, the state court unreasonably had applied Strickland

because it was excessively deferential to counsel’s invocation of strategy by failing to examine

whether they were justified in making such decisions. Id. at 527-28. In reaching its holding, the

Court evaluated “the totality of the evidence—‘both that adduced at trial, and the evidence

adduced in the habeas proceeding[s].’” Id. (quoting Williams v. Taylor, 529 U.S. at 397-98)

(emphasis added) (internal citation omitted).

       Two years later, in Rompilla v. Beard, 545 U.S. 374 (2005), the Court held trial counsel

must make reasonable attempts to obtain and assess mitigating evidence, even if a defendant and

his family have suggested that none is available. Rompilla, 545 U.S. at 377.

       Ronald Rompilla was sentenced to death for the 1988 murder of James Scanlon. Id. at

375. Mr. Scanlon was discovered dead outside of his bar, after he had been stabbed repeatedly

and then set on fire. Id. One of the three aggravating factors justifying Rompilla’s death

sentence was that the murder was committed by torture. Id. at 378. In finding the evidence

sufficient to uphold the jury’s finding of a torture-killing, the state court cited to the medical

examiner’s testimony:

       Dr. Isidore Mihalakis, a forensic pathologist, testified at the sentencing hearing
       that the victim was alive during the infliction of almost all of the injuries that he
       received. [] These injuries included abrasions, lacerations, blunt force injuries, a
       fractured nose, and multiple stab wounds. [] Dr. Mihalakis further testified that
       the number and location of the various wounds on the victim’s body were
       indicative of injuries that were inflicted with the intent of causing pain.

Commonwealth v. Rompilla, 653 A.2d 626, 634 (Pa. 1995) (citations omitted). In addition to

torture, the jury also found that the murder was committed in the course of another felony and

that Rompilla had a “significant history of felony convictions indicating the use or threat of

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violence.” Rompilla, 534 U.S. at 378. In support of the latter aggravating factor, the prosecution

presented evidence of a burglary and that Rompilla raped a woman at knifepoint. Rompilla, 653

A.2d at 633. An assistant district attorney read the rape victim’s testimony to Rompilla’s jury in

the sentencing phase of his capital trial. Id.

       The defense’s punishment phase case consisted of five family members who, for the most

part, begged the jury for mercy, saying that they loved Rompilla and thought he was an innocent,

good man. Rompilla, 545 U.S. at 378. Rompilla sought post-conviction relief in state court on

the basis that the defense failed to present “significant mitigating evidence about Rompilla’s

childhood, mental capacity and health, and alcoholism,” but the state court deemed sufficient

trial counsels’ investigation. Id.

       The federal district court held that the state court had unreasonably applied Strickland

and granted habeas corpus relief, due to fairly obvious signs that Rompilla had a troubled

childhood, suffered from mental illness and alcoholism. Id. at 379. Moreover, defense counsel

had unjustifiably relied on Rompilla’s own description of his personal history when determining

whether to conduct a mitigation investigation. Id. A divided panel of the Third Circuit reversed.

Id. The panel acknowledged that trial counsel failed to discover mitigating evidence located in

Rompilla’s school, medical, police, and prison records, but it held that—based on the

information they had—trial counsel were justified in failing to look. Id. Thus, unlike the case in

Wiggins, where counsel ignored obvious leads, Rompilla’s counsel did enough to reasonably

conclude that further investigation would be a waste of limited resources. See id. Nonetheless,

the Court found trial counsel’s investigation deficient because they failed to examine the public

files on Rompilla’s prior conviction that they knew would be used to support the prosecution’s

case for a death sentence. Id. at 383. The Court held that reasonably diligent counsel must



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obtain all available evidence related to the prosecution’s case in aggravation. Id. at 385-86. In

so holding, the Court again relied on the ABA Guidelines for the standard of care, and

emphatically rejected the state court’s conclusion that trial counsel were excused from looking at

the case files based on their other efforts to seek mitigation. Id. at 397, 389.

       With respect to Strickland’s prejudice inquiry, the Court indicated that if trial counsel had

inspected the files on Rompilla’s prior conviction, they would have discovered “a range of leads

that no other source had opened up.” Id. at 390. Additionally, the information would have

dislodged the incomplete and/or inaccurate information provided by Rompilla and his family. Id.

at 391-92.

       Proper application of these principles to a Texas capital case is demonstrated by the Fifth

Circuit’s decision in Walbey v. Quarterman, 309 Fed.Appx. 795 (5th Cir. 2009), available at

2008 WL 5972180 (5th Cir. 2008) (unpublished). Gaylon Walbey was sentenced to death in

1994 for breaking into Marionette Beyah’s home and strangling, beating, and stabbing her to

death with an extension cord, fire extinguisher and several different knives. Walbey v. State, 926

S.W.2d 307, 308-09 (Tex. Crim. App. 1996).        In preparation for the punishment phase of the

case, trial counsel had obtained and reviewed documents relating to Walbey’s background.

Walbey, 309 Fed.Appx. at 796. Trial counsel also retained and presented the testimony of two

psychologists during sentencing. Id. Counsel, however, did not begin his sentencing

investigation or retain his primary expert until a week before trial, and did not thoroughly review

the documents he had obtained. Id. at 796, 801.

       At sentencing, Walbey’s trial counsel presented some evidence of Walbey’s troubled,

abuse-filled childhood and expert testimony that Walbey would not be a future danger to society.

Id. at 795. However, following Walbey’s conviction and death sentence, his post-conviction



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counsel discovered a plethora of additional mitigating evidence that “describe[d] a nightmarish

hell of cruelty and neglect.” Id. at 797. The Fifth Circuit first held that there was “little room for

debate” that trial counsel’s mitigation investigation was deficient, calling it “severely limited.”

Id. at 800. In light of the “case law that firmly establishes a duty to investigate the background

and character of a capital defendant, along with his family and social circumstances and mental

health history,” the Walbey Court faulted trial counsel because he did not (1) interview Walbey’s

mother or people who worked with him as a youth, (2) hire a mitigation expert, (3) reach an

independent conclusion about the viability of a mitigation defense, instead delegating that task to

an expert, which expert understood his role as limited to assessing only future dangerousness and

spent two hours preparing the case, or (4) investigate the history of Walbey's relationship with

the victim. Id. at 800-01. Despite counsel’s investigation into and presentation of Walbey’s

maternal grandmother, two former foster parents, and two psychological experts, “[t]here was

essentially no effective investigation of the mitigation issue.” Id. at 801. Moreover,

       [g]iven the Texas law establishing that the facts of Walbey’s crime are themselves
       legally sufficient to support a finding of future dangerousness, the virtually
       impossible battle that Ezell faced on future dangerousness makes all the more
       unreasonable Ezell's failure to investigate a mitigation defense thoroughly. …
       Neither can there be any contention that the facts of Walbey’s childhood were
       hidden or difficult to find; in fact, many were contained in a box delivered to
       Ezell by the district attorney that Ezell elected only to skim. Ezell's mere
       possession of ‘some information with respect to petitioner’s background ... [did
       not put him] in a position to make a tactical choice not to present a mitigation
       defense.’

Id. (quoting Wiggins, 539 U.S. at 527). The Court further held that the Texas Court of Criminal

Appeals’ conclusion that counsel did not perform deficiently was an objectively unreasonable

application of Williams. Walbey, 309 Fed.Appx. at 801.

       The district court had held that there was no prejudice due to trial counsel’s deficient

performance, because Walbey’s trial counsel had “outlined the same mitigating factors for the

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jury as Walbey now contends should have been presented.” Id. at 802. Despite counsel’s

presentation of a substantial part of Walbey’s abusive and neglectful childhood, however, the

Fifth Circuit disagreed. Id. The Walbey court again relied on Williams, characterizing the

decision as “stand[ing] for the proposition that counsel can be prejudicially ineffective even if

some of the available mitigation evidence is presented and even if there is psychiatric

testimony.” Id. at 801.

       The fact that the presentation of some mitigation evidence does not necessarily
       defeat a prejudice showing is also clear from the test that Williams establishes.
       There, the Court held that it is an unreasonable application of Supreme Court
       precedents for a state court not to ‘evaluate the totality of the available mitigation
       evidence-both that adduced at trial, and the evidence adduced in the habeas
       proceeding.’ This standard clearly contemplates that even when some mitigating
       evidence is presented at trial, prejudice is still possible if that evidence is
       substantially incomplete.

Id. (emphasis in original).

       Finally, the Walbey court rebuffed two additional arguments made by Texas in support of

the district court’s determination that Walbey was not prejudiced. First, it rejected “the State's

stereotypical fall-back argument” that the heinous and egregious nature of the crime itself would

have ensured assessment of the death penalty even absent the deficiency. Id. at 804 (quoting

Gardner v. Johnson, 247 F.3d 551, 563 (5th Cir. 2001)). That argument “eviscerat[es] the

Supreme Court-approved Texas ‘special issues’ scheme” and “would be to return to the days of

inflicting capital punishment based on emotion and revenge, supplanting altogether the questions

of deliberateness and future dangerousness which make the Texas scheme constitutional.”21

Walbey, 309 Fed.Appx. at 804. Moreover, it stated:



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  Additionally, jurors are allowed to take into consideration the facts of the crime under the
theory that the evidence is relevant to the future dangerousness special issue. Muniz v. State, 573
S.W.2d 792, 795 (Tex. Crim. App. 1978). However, the future dangerousness special issue and
mitigation special issue are entirely distinct questions. Tex. Code Crim. Proc. art. 37.071.
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       Almost without exception, the cases we see in which conviction of a capital crime
       has produced a death sentence arise from extremely egregious, heinous, and
       shocking facts. But, if that were all that is required to offset prejudicial legal error
       and convert it to harmless error, habeas relief ... would virtually never be
       available, so testing for it would amount to a hollow judicial act.

Id. Second, the Walbey court noted that Texas’s argument that prejudice could not be shown

because the mitigating evidence contained both helpful and aggravating was foreclosed by

Williams. Id. at 806. Ultimately, the mitigating evidence Walbey’s trial counsel’s deficient

investigation failed to discover was “sufficient to create a reasonable probability that one juror

would have voted for life in prison rather than death,” and “[i]t was unreasonable under Williams

for the TCCA to conclude otherwise.” Id.

       To the extent that previous lower court decisions failed to derive the above principles

from Williams, Wiggins, and Rompilla, they are no longer valid precedent. Federal courts

adjudicating claims of ineffective sentencing-phase defense in capital cases should be wary of

relying on decisions made without the benefit of the Supreme Court’s guidance in Williams,

Wiggins, and Rompilla.


       B.      Trial Counsel Rendered Deficient Performance by Eliciting Highly
               Damaging Testimony from its Own Witness about Mr. Murphy’s Future
               Dangerousness.

       S.O. Woods, the defense’s prison expert, testified that Mr. Murphy was a danger to

society and a “very dangerous inmate.” R.R. Vol. 47: 171, 173. Mr. Woods’ testimony was in

direct conflict with the trial counsel’s theory that Mr. Murphy would not be a future danger, as

his past history indicated a pattern of non-violence. R.R. Vol. 49: 41-42. In fact, Mr. Woods’


Aggravation and mitigation are not weighed by a Texas capital sentencing jury. See id.
Consequently, the question of aggravation is not a legally relevant consideration to the prejudice
component of an ineffective assistance of counsel claim for failing to conduct a reasonable
mitigation investigation and present a reasonable mitigation case.

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testimony directly helped the State with their closing arguments: it allowed the State to

emphasize that the answer to Special Issue No. 1—whether or not Mr. Murphy would constitute

a future danger to society—should be an unequivocal “yes.” R.R. Vol. 49: 64.

       Trial counsel is ineffective when its own expert witness provides testimony that is not

only in direct conflict to the defense’s own theory, but that also bolsters the State’s case against

the defendant. See Combs v. Coyle, 205 F.3d 287, 288 (6th Cir. 2000). Furthermore, this

testimony indicates a complete failure of the duty to investigate with no possible professional

justification. If trial counsel had adequately questioned S.O. Woods prior to trial, they surely

would have learned that his testimony would be in direct conflict to their argument that Mr.

Murphy would not constitute a future danger.

       Mr. Murphy’s defense counsel was ineffective for allowing a defense expert witness to

testify in such a manner. Juries in Texas are instructed that instead of choosing to sentence an

individual to life or death, the answers they give to specific special issues will determine the

ultimate sentence. Tex. Code Crim. Proc. art. 37.071. The first special issue they are presented

with concerns future dangerousness. Id. Understandably, jurors’ penalty phase discussions most

often come down to the issue of the defendant’s future dangerousness. Ursula Bentele &

William J. Bowers, How Jurors Decide on Death: Guilt is Overwhelming; Aggravation Requires

Death; and Mitigation is No Excuse, 66 Brooklyn L. Rev. 1013, 1021, 1029 (2002). This

phenomenon occurs because jurors as a whole are “deeply concerned that such a defendant will

cause more harm to someone else unless he’s executed. They would rather have the defendant’s

blood on their hands than that of another victim.” Stephen P. Garvey, Aggravation and

Mitigation in Capital Cases: What Do Jurors Think?, 98 Columbia L. Rev. 1538, 1539 (1998).




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       Additionally, many jurors mistakenly believe that they “must return a death sentence

if…the defendant himself is especially likely to present a risk of future danger.” Id. at 1542.

Indeed, evidence of future dangerousness has been found to overshadow mitigation evidence and

was also found to be second only to the crime itself in the focus of penalty phase deliberations.

John H. Blume, et. al, Future Dangerousness in Capital Cases: Always 'At Issue', 86 Cornell L.

Rev. 397, 404 (2001).

       Mr. Murphy was clearly prejudiced by S.O. Woods’ testimony—his own trial counsel

elicited testimony from their own expert witness that Mr. Murphy was a “very dangerous

inmate.” Indeed, trial counsel’s ineffectiveness bolstered the State’s argument that Mr. Murphy

would be a future danger and in effect led the jury to answer the first special issue affirmatively.


       C.      Trial Counsel Rendered Deficient Performance by Failing to Conduct a
               Reasonable Sentencing Investigation.

               1. Applicable Law and Prevailing Professional Norms.

       As noted above, in determining whether trial defense counsel were ineffective in failing

to adequately investigate and present the available mitigating evidence during sentencing, this

Court must apply the standards set forth in Strickland v. Washington, 466 U.S. 668 (1984).

Under Strickland, the defendant first “must show that counsel’s representation fell below an

objective standard of reasonableness,” which must be judged under “prevailing professional

norms.” Id. at 688. In evaluating a claim that counsel failed to adequately investigate, Strickland

states that “counsel has a duty to make reasonable investigations or to make a reasonable

decision that makes particular investigations unnecessary.” Id. at 691. Second, the defendant

must satisfy the prejudice requirement by showing “reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at 694.



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       In capital sentencing, the Supreme Court has held that the Eighth and Fourteenth

Amendments require that sentencing procedures “focus the jury’s attention on the particularized

nature of the crime,” Gregg v. Georgia, 428 U.S. 153, 206 (1976) (plurality opinion), while also

allowing “the particularized consideration of relevant aspects of the character and record” of the

individual defendant, Woodson v. North Carolina, 428 U.S. 280, 303 (1976). Because “an

individualized decision is essential,” Lockett v. Ohio, 438 U.S. 586, 605 (1978), the Eighth

Amendment mandates that the sentencer “not be precluded from considering as a mitigating

factor, any aspect of a defendant’s character or record and any circumstances of the offense that

the defendant proffers as a basis for a sentence less than death.” Id. at 604. Likewise, the

sentencer may not “refuse to consider, as a matter of law, any relevant mitigating evidence,”

Eddings v. Oklahoma, 455 U.S. 104, 114 (1982), such as a “troubled youth,” id. at 107.22

       Relevant mitigating evidence is not limited only to evidence that would “relate

specifically to petitioner’s culpability for the crime he committed.” Skipper v. South Carolina,

476 U.S. 1, 4 (1986). Likewise, there is no requirement that mitigating evidence even have a

“nexus” to the offenses or that the defendant make any showing that “the criminal act was

attributable” in any way to the mitigating factors. Tennard, 542 U.S. at 286. Relevant

mitigating evidence includes any evidence that would be “mitigating” in the sense that it “might

serve ‘as a basis for a sentence less than death.’” Skipper, 476 U.S. at 5 (quoting Lockett, 438

U.S. at 604). See also Lambright v. Schriro, 490 F.3d 1103, 1115 (9th Cir. 2007) (“If evidence

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   In Eddings, the sentencing judge wrongly believed that he was legally prohibited from
considering as mitigation that: the defendant was “raised without proper guidance;” his parents
were divorced; he lived “without rules or supervision” with a mother who was possibly an
alcoholic and a prostitute; when he stayed with his father he was subjected to “excessive physical
punishment” and “physical violence;” he was “emotionally disturbed;” “his mental and
emotional development” were less than his 16-years-of-age; and he “had a sociopathic or
antisocial personality disorder.” Id. at 107. The U.S. Supreme Court reversed and remanded the
for a new punishment phase trial. Id. at 117.

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relating to life circumstances with no causal relationship to the crime were to be eliminated,

significant aspects of a defendant’s disadvantaged background, emotional and mental problems,

and adverse history, as well as his positive character traits, would not be considered, even though

some of these factors, both positive and negative, might cause a sentencer to determine that a life

sentence, rather than death at the hands of the state, is the appropriate punishment for the

particular defendant”).

       In essence, the fundamental Eighth Amendment premise is that if the sentencer fails to

consider “those compassionate or mitigating factors stemming from the diverse frailties of

humankind,” an unacceptable risk exists that the death penalty will be imposed in spite of factors

that warrant a less severe penalty. Woodson, 428 U.S. at 304. A jury can consider evidence in

mitigation, however, only if trial defense counsel vigorously investigates and presents the

available evidence.

       “Because the scope of mitigation evidence which may be considered by the jury in

sentencing is much broader than the range of relevant information which may be considered in

determining guilt or innocence, counsel is under a greater obligation to discover and evaluate

potential evidence of mitigation.” United States ex rel. Emerson v. Gramley, 883 F. Supp. 225,

243 (N.D. Ill. 1995), aff’d, 91 F.3d 898 (7th Cir. 1996). See also Frierson v. Woodford, 463 F.3d

982, 989 (9th Cir. 2006) (“The imperative to cast a wide net for all relevant mitigating evidence

is heightened at a capital sentencing hearing”). The responsibility of the lawyer is to walk a mile

in the shoes of the client, to see who he is, to get to know his family and the people who care

about him, and then to present that information to the jury in a way that can be taken into account

in deciding whether the client is so beyond redemption that he should be eliminated from the

human community. Battenfield v. Gibson, 236 F.3d 1215, 1229 (10th Cir. 2001) (quoting



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Stephen B. Bright, Advocate in Residence: The Death Penalty As the Answer to Crime: Costly,

Counterproductive and Corrupting, 36 Santa Clara L. Rev. 1069, 1085-86 (1996)).

        The American Bar Association’s (ABA) revised Guidelines for the Appointment and

Performance of Defense Counsel in Death Penalty Cases, published in 2003, articulates

professional norms for capital defense counsel, ensuring that constitutionally relevant evidence

necessary to a reliable individualized assessment of the defendant’s moral culpability is

presented to the sentencing jury for consideration. ABA, Guidelines for the Appointment and

Performance of Defense Counsel in Death Penalty Cases (rev. ed. 2003), reprinted in 31 Hofstra

L. Rev. 913, 1027 (2003) [hereinafter 2003 ABA Guidelines]. The Supreme Court has

traditionally referred to the ABA’s standards for capital defense work as “guides to determining

what [performance] is reasonable.” Wiggins, 539 U.S. at 524 (quoting Strickland, 466 U.S. at

688).

        The ABA Guidelines state that investigation for the penalty phase of a capital trial

“should begin immediately upon counsel’s entry into the case.” 2003 ABA Guideline 1.1

Commentary; ABA, Guidelines for the Appointment and Performance of Defense Counsel in

Death Penalty Cases, Guideline 11.4.1A (1989) [hereinafter 1989 ABA Guidelines]; id. at

11.8.3A. The Guidelines also mandated that the penalty phase investigation should be conducted

with the assistance of “trained investigators,” id. at 8.1 Commentary (quoting Goodpaster,

Effective Assistance of Counsel in Capital Cases, 58 N.Y.U. L. Rev. 299, 344-45 (1983)), such

as a “mitigation specialist,” 2003 ABA Guideline 4.1.A.1.23


23
   “The mitigation specialist compiles a comprehensive and well-documented psycho-
social history of the client based on an exhaustive investigation; analyzes the significance
of the information in terms of impact on development, including effect on personality and
behavior; finds mitigating themes in the client’s life history; . . . and works with the
defense team and experts to develop a comprehensive and cohesive case in mitigation.”

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       Regardless of whether counsel retains a mitigation investigator or a specialist to prepare

the social history report and present testimony, the “investigation should comprise efforts to

discover all reasonably available mitigating evidence . . . .” 1989 Guideline 11.4.1C. “This duty

is intensified (as are many duties) by the unique nature of the death penalty.” Id. at 11.4.1

Commentary.

       In fulfilling counsel’s duties, the ABA Guidelines specify that counsel should investigate

the defendant’s full history, including “medical history, (mental and physical illness or injury,

alcohol and drug use, birth trauma and developmental delays); . . . family and social history

(including physical, sexual or emotional abuse).” Id. at 11.4.1.D.2. Counsel must also interview

“witnesses familiar with aspects of the client’s history that might affect the . . . possible

mitigating reasons for the offense(s), and/or other mitigating evidence to show why the client

should not be sentenced to death.” Id. at 11.4.1.D.3. Counsel’s duty “is not discharged merely

by conducting a limited investigation.” Lambright, 490 F.3d at 1120. Counsel must “seek

records, interview family members and friends, and obtain appropriate mental evaluations well in

advance of trial.” Poindexter v. Mitchell, 454 F.3d 564, 579 (6th Cir. 2006).

       Moreover, professional norms with respect to mitigation in capital cases are reflected by

continuing legal education seminars predating petitioner’s trial, and they clearly embodied the

constitutionally mandated duties of capital defense counsel described by the Supreme Court, the

ABA, and the State Bar of Texas. For example, materials distributed at a February 2001 seminar

in Austin, Texas, explain that every capital defense team must include a mitigation specialist:

       In a death case, the ultimate goal is the preservation of the client’s life. The entire
       preparation of the case must be directed to that end. Because of this all-important
       goal, these cases are, in essence, prepared in reverse order. Regardless of guilt,
       the attorneys must aim their efforts from the beginning at saving, the client’s life.

2003 ABA Guideline 4.1 Commentary.

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       For this reason and because the death penalty is, in part, a sociological issue,
       counsel must include human service professionals on the defense team. The
       mitigation specialist is the first, and usually most important, expert that should be
       consulted in every capital case. They should have both sound, clinical skills for
       interviewing and assessment and a thorough working knowledge of the court
       system.

Exhibit 32 (“The Team Concept in a Capital Case” at 2).

       A mitigation specialist is not a guilt/innocence investigator, nor is the role of one

synonymous with a mental health expert. A mitigation specialist performs critical functions

that are distinct from other members of the defense team. See id. at 3-8. The mitigation

specialist’s most crucial function is to develop the defendant’s social history that will be relied

upon by the trial attorneys and mental health experts:

       The largest role of the mitigation specialist is that of a psycho-social investigator.
       The complete social investigation compiled by the mitigation specialist is the base
       upon which a successful mitigation is built.

       ****
       The social history helps the attorney understand the client and what happened and
       aids the attorney in explaining to the court and jury what the client is about and
       why. The social history also contains invaluable information for other team
       members, such as the psychologists and psychiatrists. This material guides the
       lawyers and mental health experts in determining what to test for and why.

Id. at 4 (emphasis added).

       Because the mitigation specialist plays such a critical role in preparing for sentencing, the

standard of care requires entrusting the social history investigation only to someone with the

appropriate expertise and training:

       The lawyer must also take care in hiring the mitigation specialist. This is not
       someone who will just go out and talk to people. This should be a professional
       who is trained in conducting mitigation investigations. This can be a licensed
       social worker with an MSW or Ph.D. This is an expert. Someone who can testify
       at trial as to her findings, conclusions and opinions.

       ****



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        A mitigation specialist should possess an understanding of the psycho-social
        aspects of human development, human relations skills, and management skills.
        Try to select a mitigation specialist with a background in any combination of
        clinical social work, counseling other human service professions coupled with
        some sort of forensic or criminal justice knowledge.

Id. at 2–3.


               2. Trial Counsel’s Failure to Retain a Mitigation Specialist in a Timely
               Manner and to Ensure that a Competent Mitigation Investigation Was
               Conducted Fell Below Prevailing Professional Norms.

        According to the ABA Guidelines, the role of a mitigation specialist differs from that of a

mental health expert, and it is a serious mistake to confuse the two roles. The reasoning behind

this warning is stated in the Guidelines—without a qualified mitigation specialist to conduct a

full psychosocial evaluation of the client, counsel cannot effectively determine what, if any,

mental health issues to test for or investigate further. It is imperative that counsel choose a

mental health expert carefully, based on a specific area of inquiry that she intends to investigate;

however, counsel cannot determine this specific area of inquiry without a qualified mitigation

specialist.

        In this case, a competent mitigation investigation would have determined that Mr.

Murphy’s life long history of trauma and abuse warranted a full mental health evaluation from an

expert who specializes in trauma. However, the defense of Mr. Murphy during the punishment

phase of his capital murder trial was hastily thrown together at the eleventh hour. Mr. Murphy’s

trial counsel was appointed on February 8, 2001. C.R. Vol 1: 4. Despite professional norms that

mandate capital defense counsel immediately begin assembling his or her defense team and

initiate investigation of the sentencing phase, trial counsel failed to hire a mitigation investigator

until September 12, 2003, a full thirty-one months after their appointment, two weeks after jury

voir dire had begun (with half of the jury already seated), eight weeks before trial proceedings

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began, and nine weeks before the start of the punishment phase. C.R. Vol. 1: 386. Trial counsel

hired mental health experts on August 18, 2003, almost a month before hiring a mitigation

investigator and just ten days before jury voir dire began. C.R. Vol. 1: 389.

        No reasonable mitigation investigation could have taken place between the retention of

the mitigation specialist, Dr. Vigen, on September 12, 2003, and the day the sentencing phase of

the case began nine weeks later. Indeed, Dr. Vigen did not meet with Mr. Murphy for the first

time until October 10, 2003, one short month before trial proceedings began. Exhibit 33 (Invoice

of Dr. Mark Vigen, 11/21/03). Dr. Vigen did not meet with Mr. Murphy’s father, one of the only

two lay witnesses who provided any sentencing phase testimony at trial, until November 9, 2003.

Id. He did not meet with Linda Goodman, the other lay witness who provided mitigation

evidence, until November 16, 2003, a mere two days before she testified. Id.

        One of the difficulties of conducting a mitigation investigation in such a short time span

is the inability of the investigator to establish relationships with; conduct in-depth interviews of;

and—as is almost always necessary—re-interview important life history witnesses who possess

significant but sensitive (and sometimes embarrassing) information. 1989 ABA Guideline

4.1(A)(1) Commentary. As a result of trial counsel’s failure to retain a qualified mitigation

specialist for over two and a half years, no biopsychosocial history was ever created. As detailed

above, the social history contains invaluable information for the attorneys who, in conjunction

with the mitigation specialist, can craft mitigation themes that tell the client’s story to the jury.

A biopsychosocial history is critical to counsel, as it allows for the identification and selection of

appropriate mental health experts who, in turn, use the information provided by the mitigation

investigation to develop an appropriate plan for forensic testing or evaluation.




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        Trial counsel’s delay in retaining a mitigation specialist and mental health expert to assist

in the preparation of trial violated their duties to assemble a defense team as soon as possible

upon appointment and to immediately begin sentencing phase investigation. As a result of this

delay, no proper investigation into mental health issues (i.e. post-traumatic stress disorder and

trauma) was ever conducted, nor were any further mental health professionals, qualified in these

areas, hired to consult or testify.


                3. Trial Counsel’s Failure to Investigate Whether Mr. Murphy Suffers from
                Post-Traumatic Stress Disorder Was Constitutionally Deficient.

                        a. DSM-IV Definition of Post-Traumatic Stress Disorder.

        The Diagnostic and Statistic Manual of Mental Disorders, 4th Edition, defines post-

traumatic stress disorder (“PTSD”) with six criteria:

        A. The person has been exposed to a traumatic event in which both of the
        following have been present:

                (1) the person experienced, witnessed, or was confronted with an event or
                events that involved actual or threatened death or serious injury, or a threat
                to the physical integrity of self or others
                (2) the person's response involved intense fear, helplessness, or horror.

        B. The traumatic event is persistently reexperienced in one (or more) of the
        following ways:

                (1) recurrent and intrusive distressing recollections of the event, including
                images, thoughts, or perceptions.
                (2) recurrent distressing dreams of the event.
                (3) acting or feeling as if the traumatic event were recurring (includes a
                sense of reliving the experience, illusions, hallucinations, and dissociative
                flashback episodes, including those that occur upon awakening or when
                intoxicated).
                (4) intense psychological distress at exposure to internal or external cues
                that symbolize or resemble an aspect of the traumatic event.
                (5) physiological reactivity on exposure to internal or external cues that
                symbolize or resemble an aspect of the traumatic event.




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       C. Persistent avoidance of stimuli associated with the trauma and numbing of
       general responsiveness (not present before the trauma), as indicated by three (or
       more) of the following:

               (1) efforts to avoid thoughts, feelings, or conversations associated with the
               trauma
               (2) efforts to avoid activities, places, or people that arouse recollections of
               the trauma
               (3) inability to recall an important aspect of the trauma
               (4) markedly diminished interest or participation in significant activities
               (5) feeling of detachment or estrangement from others
               (6) restricted range of affect (e.g., unable to have loving feelings)
               (7) sense of a foreshortened future (e.g., does not expect to have a career,
               marriage, children, or a normal life span).

       D. Persistent symptoms of increased arousal (not present before the trauma), as
       indicated by two (or more) of the following:

               (1) difficulty falling or staying asleep
               (2) irritability or outbursts of anger
               (3) difficulty concentrating
               (4) hypervigilance
               (5) exaggerated startle response.

       E. Duration of the disturbance (symptoms in Criteria B, C, and D) is more than
       one month.

       F. The disturbance causes clinically significant distress or impairment in social,
       occupational, or other important areas of functioning.

American Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders DSM-IV-TR

309.89 (4th ed. 2000) (hereinafter DSM-IV).


                       b. Professional Standards with Respect to Investigating Post-
                       Traumatic Stress Disorder Evidence in Capital Sentencing.

       Various considerations affect the determination of whether a defendant was prejudiced by

the exclusion of certain evidence from trial. For example, a defendant is prejudiced when trial

counsel introduces some of a defendant’s social history “in a cursory manner that was not

particularly useful or compelling.” Jones v. Ryan, 583 F.3d 626, 647 (9th Cir. 2009) (quoting



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Stankewitz v. Woodford, 365 F.3d 706, 724 (9th Cir. 2004)). In fact, failure to accurately present

the defendant’s life history would alone be sufficient to undermine confidence in the sentence,

and would lead to the conclusion that the deficiency was “fatal.” Jones, 538 F.3d at 647. If

expert witnesses can give “newly definitive and expansive opinions” on a defendant’s mental

disorder based on the defendant’s social history and relevant testing, courts may find the

existence of prejudice. Id. at 642. Prejudice results from the “cumulative impact” of multiple

deficiencies. Id. at 647 (quoting Cooper v. Fitzharris, 586 F.2d 1325, 1333 (9th Cir. 1978) (en

banc)).

          There are no specific factors necessary for a court to find the existence of prejudice. In

particular, it is not necessary for a Mr. Murphy to “demonstrate that the newly presented

mitigation evidence would necessarily overcome the aggravating circumstances.” Jones, 583

F.3d at 637. Additionally, there is no requirement that mitigating evidence have some nexus or

causal connection to the crime of which the defendant was convicted in order for a jury’s failure

to consider that evidence to be deemed prejudicial. Tennard, 542 U.S. at 289. Instead, courts

should reweigh the evidence in aggravation against the totality of available mitigating evidence.

Jones, 583 F.3d at 637 (citing Wiggins, 539 U.S. at 534).

          In addition, trial counsel has a responsibility to investigate a client’s social history

regarding any mental or psychological disorders with which the client may be affected, including

post-traumatic stress disorder (PTSD). Specifically, ABA Guidelines specify that trial counsel

should investigate a defendant’s medical history, including mental and physical illness or injury.

1989 ABA Guideline 11.4.1.D.2; id. at 11.7(F). 24



24
   In Easley v. Dretke, 122 Fed. Appx. 124 (5th Cir. 2005), the Fifth Circuit held that trial
counsel’s failure to hire an expert, discover, and present evidence of a defendant’s PTSD did not
amount to deficient performance, when counsel had examined the defendant’s history and but
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       There can be no justification for not having included this evidence as part of Mr.

Murphy’s defense. To be sure, the Fifth Circuit has held that failure to put on mitigating

evidence at the punishment phase of a capital murder trial is not per se ineffective assistance, but

it is justifiable if and only if such an omission is based on well-informed and strategic decisions.

Rector v. Johnson, 120 F.3d 551, 564 (5th Cir. 1997). Further, the failure to present such

potentially mitigating evidence is strategic only if the evidence is “double-edged in nature.” Id.

Thus, counsel’s decision to leave out mitigating evidence is only reasonable if trial counsel has

reason to believe that pursuing certain investigations would be “fruitless or even harmful” to the

defendant’s case. Wilkerson v. Collins, 950 F.2d 1054, 1065 (5th Cir. 1992) (quoting Strickland,

466 U.S. at 691).25




had absolutely no reason to suspect the existence of PTSD. Id. at 128. However, the Fifth
Circuit itself clearly distinguishes this instance from cases where counsel is aware of his client’s
potential mental disorder Bouchillon, 907 F.2d at 596-97 (holding that counsel’s failure to
investigate a possible insanity defense was unjustified because the defendant told him that he had
been institutionalized several times and was taking medication for mental problems); Profitt v.
Waldron, 831 F.2d 1245, 1247-49 (5th Cir. 1987) (holding that counsel’s failure to investigate an
insanity defense was unreasonable because counsel knew that the defendant had been previously
adjudicated insane). Texas state cases also hold that trial counsel performance must investigate
and present mitigating evidence if they are aware that a defendant may have a mental disorder.
Woods v. State, 59 S.W.3d 833, 837-38 (Tex. App.—Texarkana 2001), rev’d on other grounds,
108 S.W.3d 314 (Tex. Crim. App. 2003) (holding that counsel’s failure to examine defendant’s
mental history was unreasonable because he was aware that the defendant had a history of
commitment to mental health hospitals and there was evidence that he heard voices and suffered
hallucinations); In re R.D.B., 20 S.W.3d 255, 256-57, 261 (Tex. App. —Texarkana 2000)
(holding that counsel’s failure to utilize a mental health expert was unreasonable because the
defendant had a frontal lobe brain injury, was taking medication for it, and a psychiatric
evaluation indicated that the injury may have contributed to his behavior).
25
   Trial counsel’s decision to exclude certain mental health evidence from the trial is considered
to be reasonable, informed and strategic if such evidence would conflict with, and possibly
discredit, more significant trial evidence. Ringo v. Roper, 472 F.3d 1001, 1007 (9th Cir. 2007).
Additionally, trial counsel’s failure to present evidence regarding a defendant’s possible PTSD
claim is considered to be reasonable if the defendant is not considered to have had a viable PTSD
defense in the first place. Lowery v. Cummings, 255 Fed. Appx. 409, 417 (11th Cir. 2007).
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       A lawyer’s obligation to conduct a thorough mental health investigation is further

heightened in a case like this one, where there are various indicators of potential mental illness.

Jones, 583 F.3d at 640. In Lambright v. Schriro, 490 F.3d 1103 (9th Cir. 2007), defense counsel

failed to conduct a sufficient examination of “classic mitigation evidence,” even though he was

aware that such evidence potentially existed. Id. at 1108. Counsel not only failed to request

relevant medical/hospital records, but also did not explore defendant’s known serious drug

problem, traumatic childhood, and apparent signs of PTSD. Id. Trial counsel spent only five-

plus hours preparing for the penalty phase and offered few testifying witnesses. Id. As such,

trial counsel’s investigation of potentially mitigating evidence was “utterly deficient”. Id. at

1119. This standard serves as an example from which a counsel’s obligation to investigate and

present evidence of mental health history may be determined.


                       c. Trial Counsel Rendered Deficient Performance by Failing to
                       Uncover Mitigating Mental Health Evidence.

       Because the punishment stage is directly related to the personal culpability of the

defendant, the jury must be able to consider and give effect to mitigating evidence relevant to a

defendant’s character or record or circumstances of the offense. Penry, 492 U.S. at 327-28. In

the case at bar, trial counsel failed to perform the work mandated by prevailing professional

norms, as reflected in Strickland v. Washington, the ABA Guidelines, and the State Bar of Texas

Guidelines.

       Even though there were numerous stressors indicating that Mr. Murphy might suffer from

PTSD, trial counsel ignored these indicators and failed to pursue a comprehensive mitigation

investigation. Prior to trial, trial counsel failed to conduct a detailed investigation into Mr.

Murphy’s personal and social history and failed to conduct meaningful interviews of Mr.


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Murphy’s family and other individuals who possessed critical information regarding potential

PTSD stressors. As a result of these deficiencies, trial counsel failed to obtain a PTSD expert to

further examine Mr. Murphy’s apparent symptoms of this psychiatric disorder. 26 This leads to

the conclusion that trial counsel’s deficiencies were “fatal.” Jones, 538 F.3d at 647.


                    i.      Dr. Bekh Bradley-Davino’s Declaration
       Undersigned counsel obtained the assistance of a psychologist, Bekh Bradley-Davino, to

conduct a preliminary review of records available to trial counsel to determine whether they

should have explored the distinct possibility that Mr. Murphy suffers from PTSD. Exhibit 34

(Declaration of Bekh Bradley-Davino, Ph.D.). Dr. Bradley has published extensively regarding

PTSD and its link to childhood trauma and abuse. He reviewed excerpts from Mr. Murphy’s

sentencing phase trial testimony and notes taken by Dr. Vigen during his interviews with Mr.

Murphy and his family in order to assess the relationship between Mr. Murphy’s childhood

traumas and his mental health. Based on his review of these documents, Dr. Bradley-Davino has

concluded that “from a young age, [Mr. Murphy] displayed behaviors and problems that are

often associated with Post Traumatic Stress Disorder (PTSD), trauma, and abuse. Mr. Murphy’s

history indicates that an in-person comprehensive psychological assessment taking into account

PTSD is warranted.” Exhibit 34 (Declaration of Bekh Bradley-Davino, Ph.D.) at ¶ 1.

       PTSD is a “psychiatric diagnosis that is associated with exposure to childhood sexual

abuse, childhood physical abuse, and witnessing violence against others.” Exhibit 34

(Declaration of Bekh Bradley-Davino, Ph.D.) at ¶ 11. Mr. Murphy’s childhood was filled with

repeated incidences of sexual abuse by his “step father”, his step siblings, his mother, his uncle,



26
   Undersigned counsel has filed herewith a motion seeking funding to retain an expert who can
conduct an in-person, comprehensive evaluation of Mr. Murphy’s claim of PTSD and assess the
effect that the trauma and abuse had on his mental health.
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and an older male who ran a youth program. Exhibit 34 (Declaration of Bekh Bradley-Davino,

Ph.D.) at ¶ 4, 5.   He was also physically and emotionally neglected by his mother, who would

leave him for extended periods of time with his relatives so that she could abuse drugs and

alcohol and pursue sexual relationships with various men, one of whom was a convicted child

molester. Id. at ¶ 7. Dr. Bradley-Davino states that these instances of abuse represent the

“prototypical examples of complex trauma exposure” that often manifest themselves in PTSD

symptoms and in other emotional and behavioral impairments. Id. at ¶ 23.

        Trial counsel failed to conduct the necessary investigation into the behavioral and

emotional problems indicating that Mr. Murphy may suffer from PTSD. As Dr. Bradley-Davino

explains, this impairment would have had far-ranging effects on virtually every aspect of Mr.

Murphy’s life:

        The ability to use reason and logical thinking to override emotional responses is
        developed over the course of childhood and adolescence and even into early adulthood.
        Among the capacities often disrupted by exposure to abuse and traumatic and adverse life
        events during childhood and adolescent development is the ability to regulate impulses,
        the ability to effectively learn from experiences and engage in effective and adaptive
        behavior based on this learning, and the ability to regulate emotional reactions and
        responses. Problems in developing the key capacities are often associated with increased
        risk for development of psychiatric disorders (e.g., substance abuse, PTSD, and
        depression).      Such problems are also associated with increased risk for
        delinquent/criminal behavior in adolescence/adulthood. This type of response to complex
        trauma, which includes problems across multiple behavioral and emotional domains,
        reflects a constellation of symptoms that has a foundation in psychiatric research and
        which are referred to as “Developmental Trauma Disorder”, “Disorders of Extreme Stress
        Not Otherwise Specified” and “Complex PTSD”.

Id. at ¶ 24. Had counsel conducted the appropriate mitigation investigation of Mr. Murphy’s

clear mental health symptoms, counsel could have presented to the jury a wealth of mitigating

evidence. This would have included not only the fact of Mr. Murphy’s diagnosis, but also the

ways in which Mr. Murphy’s symptoms have manifested themselves. Counsel thus would have

been able to place in proper context the testimony heard by the jury regarding Mr. Murphy’s


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prior criminal convictions, in particular his prior conviction for a sexual assault; his inability to

take advantage of being placed in a stable, loving home at age nine after sustaining years of

abuse while living with his neglectful, drug- and alcohol-addicted mother; and the necessarily

incomplete testimony of defense mental health expert Dr. Mark Vigen. Counsel’s failure to

conduct this necessary mitigation investigation was constitutionally deficient.


       D.      Trial Counsel Rendered Deficient Performance by Failing to Object to
               Impermissible Closing Arguments during the Punishment Phase.

               1. The Government’s Punishment Phase Arguments Violated State Law

                       a. Derogatory References to Mr. Murphy.

       The record is replete with derogatory references to Mr. Murphy made by the prosecutors

during their punishment phase summations. For instance, the prosecutors informed the jury that

Mr. Murphy lacks their humanity27 before going on to call him repeatedly an “evil man.” R.R.

Vol. 49: 63, 64. The government further asserted that “[i]nside him grows a criminal cancer, a

malignant, criminal cancer that should be excised and removed from the body that is our

society.” R.R. Vol. 49: 67. Perhaps most egregiously, the government drew a parallel between

Mr. Murphy and Satan, telling the jury that just as the defense mental health expert found

mitigating factors in Mr. Murphy’s background, he “would probably find mitigation in Satan’s




27
  See R.R. Vol. 49: 21 (“He’s a violent felon. He’s not like you. He doesn’t possess a
conscience.”); R.R. Vol. 49: 22 (“He doesn’t think like you folks.”); R.R. Vol. 49: 31 (“They
[apparently referring to Mr. Murphy and George Rivas] think differently. There’s no conscience.
They’re pathological liars.”). The final quotation lumping Mr. Murphy and Mr. Rivas together is
particularly egregious, as the government is essentially asking the jury to determine Mr.
Murphy’s deathworthiness based, in part, on the character and acts of his co-defendants. Such a
plea violates Mr. Murphy’s rights to due process and an individualized sentencing determination
under the Eighth Amendment.
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childhood or Satan’s upbringing. Why do I say that? Because that’s exactly what he did

yesterday with this very, very evil man.” R.R. Vol. 49: 63.28

                         b. Urging the Jury to Base Its Verdict on Sympathy for the Victim
                         and His Family.

          In a similar vein, the government sought to inflame the jury by repeatedly imploring them

to base their verdict on sympathy for the victim and his family. For instance, the government

implored the jurors to send a message to the victim’s family through its verdict29 and to sentence

Mr. Murphy to death to “insure there’s [sic] no more widows, to insure there’s [sic] no more

children that will grow up without a father.” R.R. Vol. 49: 76.30 Not content to leave it at that,

the government made a further plea for retribution based on the suffering of the victim’s son:



28
   These statements resonated with derogatory references made during the government’s guilt-
innocent phase summations, compounding their effect. See R.R. Vol. 44: 11 (referring to Mr.
Murphy as a “villain[ ]”); R.R. Vol. 44: 31 (referring to Mr. Murphy as a member of “dark forces
that descended upon that Oschman’s”); R.R. Vol. 44: 35 (calling Mr. Murphy a “coward[ ]”).
29
   That passage is as follows:
        Now we have reached the punishment phase. In the guilt-innocence stage we are
        concerned with the defendant’s rights and whether the State is able to prove its case
        beyond a reasonable doubt. We have met that burden and now we go to the punishment
        phase where the scope widens. Now we’re concerned with society’s rights and victims’
        rights. And that’s why the twelve of you are so important in the message you will send,
        the message you will send to the victim, the victim’s family, the message that you will
        send to this particular defendant and others like him. That’s what’s so important about
        your verdict, because the message should be clear. In this part of the trial we are
        concerned about deterrence and stopping this kind of behavior. . . . And the message your
        verdict will give to others like him in prison like him [sic], that if you consider
        committing crimes such as this and you come to our community, then you, too, will pay
        the ultimate price. And that’s what is so important about your duty today.

R.R. Vol. 49: 18.
30
     The full argument on that point is as follows:

          At some point in every trial I think a focus has to shift. What I mean by that is this. For
          two weeks we’ve been involved protecting his rights, making sure he got a fair trial,
          making sure he got due process, and that’s the way it should be. But at some point in a
          trial, and I’ll submit to you that point is now, the time is here, the focus must shift away
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       On that day he and his friends took away—they took away a valuable police officer, a
       man of our community. They took away a man from his wife. They took away a son
       from a mother and a father. And they took away a nine-year-old boy’s father. When he
       was nine, he had a loving father, who tried to provide him a home. But Andrew
       Hawkins doesn’t have a father anymore because of him. As you grow up as a boy, you
       play baseball, you play football, you can always look on the sidelines to see if your dad
       is watching. Andrew, he doesn’t get that. He won’t have the opportunity to talk to his
       father before he goes out on that first date. He won’t have the opportunity to have his
       father watching him walk across that stage at high school graduation because they
       took it away from him. And you, as a jury, have to hold him responsible for his
       actions.

R.R. Vol. 49: 35.31

       At no point did trial counsel object to any of these arguments.

                       c. These Arguments Were Impermissible Pursuant to State Law.

       from the criminal and his crimes to the good people in our community. The focus must
       shift to us. And we must make the decision, what type of community, what type of
       society do we want to live in? And we must realize in a very real sense in cases like this,
       we have a communal right to self-defense. We have the right to come together as a jury,
       to come together as a community, and say enough is enough, to exercise our right of self-
       defense against people like Patrick Murphy. We have a right to do that, to stop them, to
       insure there’s no more widows, to insure there’s no more children that will grow up
       without a father. We have a right to do it. And we should do it now. We should stop
       him now. We should exercise our right of self-defense.

R.R. Vol. 49: 76. This passage is particularly troubling, as it asserts that Mr. Murphy has already
been afforded as much process as he is due and is not entitled to the type of searching,
individualized determination of punishment mandated by the Eighth Amendment. See Woodson
v. North Carolina, 428 U.S. 280, 305 (1976) (because “the penalty of death is qualitatively
different from a sentence of imprisonment, . . .there is a corresponding difference in the need for
reliability in the determination that death is the appropriate punishment in a specific case”).
31
   Again, these arguments built on statements made during the guilt-innocence phase
summations:

       You know, this day back on Christmas Eve, Aubrey Hawkins was on the job. Most
       fathers of nine-year-old boys were home on Christmas Eve having dinner with their
       families, perhaps reading a story to their children, putting together a bicycle, some other
       toys. But Aubrey Hawkins chose to be a police office. And on that day, that evening, he
       was out alone and he was in the cold and he was in the wet and he was outnumbered and
       he was ambushed.

R.R. Vol. 44: 39-40.


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       Under Texas state law, argument is limited to the following four areas: “(1) summation of

the evidence; (2) reasonable deduction from the evidence; (3) answer to argument of opposing

counsel; and, (4) pleas for law enforcement.” Todd v. State, 598 S.W.2d 286, 296-97 (Tex.

Crim. App. 1980). The Fifth Circuit has recognized that “Texas applies the rule that argument

be limited to the evidence and reasonable inferences from it as strictly in the punishment phase

of trial as in the guilt phase.” Houston v. Estelle, 569 F.2d 372, 381 n.12 (5th Cir. 1978). The

arguments of which Mr. Murphy complains fall into none of these categories and were therefore

impermissible.

       The Court of Criminal Appeals has repeatedly condemned the practice of making the

type of derogatory references that were made about Mr. Murphy. See, e.g., Ramos v. State, 991

S.W.2d 430, 437 (Tex. Crim. App. 1999) (prosecutor exceeded permissible scope of argument in

describing defendant as “satan personified”); Shannon v. State, 942 S.W.2d 591, 597 (Tex. Crim.

App. 1996) (prosecutor’s reference in closing argument to defendant as a “sociopath” was

improper). Indeed, the Texas courts have long held that such impermissible arguments constitute

reversible error. See, e.g., Renn v. State, 495 S.W.2d 922 (Tex. Crim. App. 1973), overruled on

other grounds, Burrell v. State, 526 S.W.2d 799 (Tex. Crim. App. 1975) (reversing conviction on

the sole basis of prosecutor’s repeated derogatory references to the defendant, including calling

him a “hippy” and a “Communist”); Duran v. State, 356 S.W.2d 937, 938 (Tex. Crim. App.

1962) (reversing conviction on the sole basis of references to defendant as a “punk”); Martinez v.

State, 332 S.W.2d 718, 719 (Tex. Crim. App. 1960) (reversing conviction on the sole basis of

prosecutor’s references to the defendant as a “thug”, “thief”, and “vagrant”); Marx v. State, 150

S.W. 2d 1014, 1017 (Tex. Crim. App. 1941) (reversing conviction based in part on references to

defendant as a “beast”); McGrew v. State, 143 S.W. 2d 946, 946-47 (Tex. Crim. App. 1940)

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(reversing conviction based in part on references to defendant as a “fiend from hell”); Jupe v.

State, 217 S.W. 1041, 1042 (Tex. Crim. App. 1920) (reversing conviction on the sole basis of

references to defendant as a “cowardly cur”).

         The Court of Criminal Appeals has likewise disallowed the tactic of imploring the jury to

base its verdict on sympathy for the victim’s family. In Stahl v. State, the prosecutor told the

jury that, with its verdict, it had “an opportunity to tell them that we don’t like them causing grief

to good people like [the victim’s mother]. You have an opportunity to let [the victim’s mother]

know that her son did not die in vain.” 749 S.W.2d 826, 830 (Tex. Crim. App. 1988). The Court

of Criminal Appeals reversed the conviction, finding—among other errors—that the prosecutor’s

argument was inflammatory and amounted to a call for the jury to abandon objectivity. Id. at

832. See also Brandley v. State, 691 S.W.2d 699, 712-13 (Tex. Crim. App. 1985), overruled on

other grounds, Baldwin v. State, 2009 Tex. App. LEXIS 4270 (June 12, 2009) (finding the

prosecutor’s statement urging the jurors “to think about the feelings of the father who lost his

baby daughter and . . . how you would feel if you lost your children” to be an inappropriate “plea

for abandonment of objectivity” but finding that, in light of the record as a whole, reversal was

not warranted).32

         It is apparent from the cases cited that the government’s arguments did not constitute a

summation of the evidence, reasonable deductions from the evidence, or proper pleas for law

enforcement. Nor is there any portion of the defense summations that could be construed even

remotely as inviting the government’s comments.


                 2. Trial Counsel’s Failure to Object to These Arguments was Objectively
                 Unreasonable.


32
     See also Woodson, 428 U.S. at 305.

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         The ample caselaw cited above leaves no doubt that reasonably competent counsel should

have been aware that the arguments made by the government were improper. Indeed, in the

instant case, there is definitive evidence that counsel knew that the arguments made by the

government were highly prejudicial and objectionable and that it was the defense strategy to

keep such statements out. Before trial commenced, counsel filed a motion entitled “Defendant’s

Motion in Limine Name-Calling by Prosecution.” C.R. Vol. 1: 157. In that motion, counsel

requested the judge to instruct the prosecutors “not to engage in any name-calling of the

Defendant. . . .” Id. As the basis for this motion, counsel observed that “attaching derogatory

and satirically unflattering labels to the Defendant . . . would be prejudicial and likely . . . create

bias against the Defendant before the jury which would prevent him/her from obtaining a fair

trial . . . .” Id.

         Trial counsel also filed two motions seeking to prevent the jury from being tainted by

arguments about the emotional impact of Aubrey Hawkins’ death on his family. In the first,

entitled “Motion in Limine with Regard to Matters Concerning the Deceased,” counsel moved

the court to “instruct the attorneys for the State not to mention, allude to, elicit testimony

concerning, or in any way bring to the attention of the jury . . . any of the following matters until

such time as a hearing is heard outside the presence of the jury to determine the admissibility of

the same[:] . . . The impact or effect that the death of the deceased in this case has had on the

family of the deceased . . . .” C.R. Vol.1: 177. As grounds for the motion, counsel argued

correctly that such arguments are “irrelevant, . . . not material to any fact at issue in this case

concerning the guilt or innocence or any of the questions to be answered by the jurors at the

punishment phase . . . . [and] prejudicial.” Id. In the second motion, entitled “Motion in Limine

Character of Complainant Victim Impact,” counsel requested that the court instruct the



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government “to refrain from making any direct or indirect reference whatsoever, at trial before

the jury . . . to the emotional impact of the death of the deceased on friends and family.” C.R.

Vol. 1: 226. Counsel specifically noted that the government’s summations should be free of

such references and were emphatic about the prejudicial nature of such arguments: “Any

ordinary objection during the course of trial, even sustained with proper instructions to the jury,

will not remove the harmful effect of this inadmissible evidence, in light of its highly prejudicial

content.” Id. at 227, 228.

       In light of these motions, the failure to object to any of the government’s improper

arguments is nothing less than baffling, particularly because each motion was granted by the trial

judge. C.R. Vol.1: 157, 177, 229. Counsel thus failed to follow their motions in limine with a

single objection at trial, despite every indication that the judge would be likely to sustain them

and give corrective instructions. There is no question that counsel’s failure to object to these

arguments was constitutionally deficient. See, e.g., Smith v. Black, 904 F.2d 950, 980 (5th Cir.

1990) (“failure to object properly or to preserve fundamental errors at trial may constitute

ineffective assistance of counsel”); Burns v. Gammon, 260 F.3d 892, 896 (8th Cir. 2001) (trial

counsel’s failure to object to prosecutor’s improper remarks in closing constituted ineffective

assistance of counsel); Washington v. Hofbauer, 228 F.3d 689, 709 (6th Cir. 2000) (trial

counsel’s failure to object to prosecutor’s improper examination and closing arguments

amounted to ineffective assistance of counsel; “One of defense counsel’s most important roles is

to ensure that the prosecutor does not transgress the[e] bounds [of proper conduct].”). 33 See

also, e.g., Bates v. Bell, 402 F.3d 635, 643-44 (6th Cir. 2005) (granting relief to state habeas



33
  See also 2003 ABA Guideline 10.8 Commentary (“One of the most fundamental duties of an
attorney defending a capital case at trial is the preservation of any and all conceivable errors for
each stage of appellate and post-conviction review.”) (internal citations omitted).
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petitioner upon finding that the government, among other arguments, improperly compared the

defendant to a rabid dog); Copeland v. Washington, 232 F.3d 969, 972, 975 (8th Cir. 2000)

(affirming grant of state habeas petition on the ground that the prosecutor’s arguments, which

included references to the impact on the victims’ families as well as the defense and prosecuting

attorneys’ children, were the sort “that would result in ‘mob justice’ rather than result in

reasoned deliberation”); Duvall v. Reynolds, 139 F.3d 768 (10th Cir. 1998) (stating that

comments urging sympathy for the victim are not to be condoned but finding that, in light of the

conduct of the trial as a whole, relief for state habeas petitioner was not warranted); Martin v.

Parker, 11 F.3d 613 (6th Cir. 1993) (granting habeas petition due to repeated attacks on character

of defendant, including comparison to Hitler).


       E.      Trial Counsel Rendered Deficient Performance by Failing to Object to
               Impermissible Voir Dire Committing Jurors to an Affirmative Answer on the
               Second Special Issue and by Failing to Challenge Those Jurors for Cause or
               Exercise a Peremptory Strike.


               1. Legal Standard for Impermissible Commitment Questions.

       Texas state law prohibits attorneys from asking questions that “attempt to bind or commit

a prospective juror to a verdict based on a hypothetical set of facts.” Standefer v. State, 59

S.W.3d 177, 179 (Tex. Crim. App. 2001) (internal citations omitted). The inquiry into whether a

question posed during voir dire is an impermissible commitment question proceeds in two steps.

The court must first determine whether the question is, indeed, a commitment question.

Commitment questions are defined as “those that commit a prospective juror to resolve, or to




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refrain from resolving, an issue a certain way after learning a particular fact.” Id.34 Commitment

questions, though often posed to elicit a “yes” or “no” response, may also be “open-ended if the

question asks the prospective juror to set the hypothetical parameters for his decision-making.”

Id. at 180 (citing Allridge v. State, 850 S.W.2d 471, 480 (Tex. Crim. App. 1991), cert. denied,

510 U.S. 831 (1993) (finding the question “What circumstances in your opinion warrant the

imposition of the death penalty?” to be an improper attempt to commit jurors to the parameters

of their decision-making). The Court of Criminal Appeals has also noted that commitment

questions “may contain words such as ‘consider,’ ‘would,’ and ‘could.’” Lydia v. State, 109

S.W.3d 495, 498 (Tex. Crim. App. 2003) (internal citations omitted).35

       Once a question has been deemed a commitment question, a determination must be made

as to whether the question is improper. This inquiry turns on whether the question leads to a

valid challenge for cause. Id. First, the court must ask whether any answer to the question

would give rise to a valid challenge for cause. Id. at 182. Second, even if that inquiry is

answered in the affirmative, the court must ask whether a question “includes facts in addition to

those necessary to establish a challenge for cause.” Id. at 182 (emphasis in original). In other

words, a proper commitment question “must contain only those facts necessary to test whether a

prospective juror is challengeable for cause.” Id. (emphasis in original).




34
   Put another way, “a question is a commitment question if one or more of the possible answers
is that the prospective juror would resolve or refrain from resolving an issue in the case on the
basis of one or more facts contained in the question.” Standefer, 59 S.W.3d at 180.
35
   The Court of Criminal Appeals has further stated that the use of “the word ‘consider’ often
marks a commitment question in which the prospective juror is asked to refrain from resolving
an issue after learning a fact that could be used to resolve that issue.” Standefer, 59 S.W.3d at
180. In addition, the court has stated that “[t]he word ‘would’ instead of ‘could’ indicates a
much stronger level of commitment,” though—as noted in the text accompanying this footnote—
both words may be used in improper questioning. Id. at n.9.
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               2. The Voir Dire Conducted in Mr. Murphy’s Case.

       During voir dire, the government repeatedly—and successfully—sought to commit

prospective jurors to an affirmative answer to the second special issue for a defendant in

precisely Mr. Murphy’s position. As set out in detail below, the government’s impermissible

voir dire consisted of two categories of questions. In the first, the prosecutors questioned jurors

using a hypothetical that involved three bank robbers, one of whom served as the lookout and

getaway car driver. In many instances, the prosecutors added the detail that the lookout/getaway

car driver either knew that his accomplices entered the bank with guns or possessed a gun

himself. In the second, the prosecutors asked open-ended questions designed to have the jurors

set the hypothetical parameters of their decision-making on the second special issue.

       Both categories of questions were posed to seated jurors Christine Stucker, Michael

Collins, David Evans, and Nancy Carney. Excerpts from their voir dire by the government

follow, with particularly troubling portions highlighted. In addition, the excerpts from Michael

Collins’ and Nancy Carney’s voir dire include footnotes calling attention to the fact that the

government was perfectly capable of gleaning sufficient information to determine a prospective

juror’s ability to follow the law of parties without asking these impermissible commitment

questions. Christine Stucker’s voir dire follows:

       Q.      Okay. Now, when we talk about capital murder, we generally think about the
       triggerman, obviously, being prosecuted. If I go into a 7-Eleven and rob the clerk, shoot
       him down, I can be arrested and prosecuted and could receive the death penalty. But all
       crimes—some crimes can be committed by other persons, groups of persons, and we call
       that the law of parties. Sometimes we have several individuals that partake in a crime.
       Some participate more than others, but it may take all of them together to pull the crime
       off. The same is true of capital murder.

       An example I give of this is if Mr. Wirskye and I here decide to rob a bank. We get
       another accomplice to be our driver. He pulls up. We say, keep the car running.
       We’re going in with our guns.


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       We go in with guns. We rob the bank. I start covering the tellers. Mr. Wirskye is
       loading the money up. I start shooting the teller. Maybe I don’t like the way they are
       looking at me. Maybe Mr. Wirskye here says they are going for an alarm or trying to
       get out the back. Anyway, I kill one or two or however many. We run outside and
       we’re captured.

       Obviously, I can be arrested and prosecuted and could receive the death penalty because I
       was the triggerman. The law says if Mr. Wirskye and the others were actively
       participating in that crime, they could be arrested and prosecuted for capital murder. . . .

       We want to ask each juror how you feel about that, the prosecution of someone who is a
       nontriggerman for the death penalty. Do you agree that the law should allow that or do
       you disagree with that aspect of it?

       A.     I guess it would depend on the facts of the case. But if they actively participated
       and contributed, I guess I would tend to agree.

       Q.    Okay. What would be important to you? How actively they were involved or
       what?

       A.     In your example, if the person in the car didn’t know that they had guns or
       something like that, then I would say I would disagree. But the guy that was helping and
       knew that guns were pointed on people, probably say the death penalty would be okay.

       Q.     Okay. You bring up a good point, then. It’s the person’s actual knowledge of
       exactly what was going on, how dangerous these other individuals were, that sort of
       thing?

       A.     Yes.

       Q.     A big factor to you would be their knowing whether they possessed weapons?

       A.     Yes.

       Q.     A lot of jurors have told us that. . . .

R.R. Vol. 11: 117-20. Trial counsel neither challenged Ms. Stucker for cause nor exercised a

peremptory strike against her. R.R. Vol. 11:142.

       Michael Collins was asked a similar series of questions:

       Q:      . . . . And for people who are nontriggermen or what we call accomplices,
       sometimes, people that didn’t actually cause the death, they take away that option of the
       death penalty for those people for a lot of reasons, but mainly because they didn’t
       actually cause the death. They are fine with it on the triggerman, but like I said, when it

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       comes to an accomplice, they may sentence them to life or a whole lot of time in the
       penitentiary, they just don’t think that the death penalty should be an option for those
       accomplices. How do you come down on that issue?

       A.     I believe the question is option. It should be an option. But the decision would
       have to depend—would have to depend upon the circumstances of that individual’s
       involvement. If that individual was, in fact, a bystander, had no intention, no
       involvement, but this associates took it upon themselves to do it, then the death penalty
       may not be appropriate.

       Q.      So you wouldn’t necessarily or automatically take the death penalty option off the
       table for those accomplices?

       A.      No.

       Q.      You would look at their role in the crime, I guess?

       A.      No—yes, I’m sorry.36

       Q.      Let me give you a hypothetical or scenario and see what you think. Let’s say Mr.
       Shook and I get together and we decide we’re going to rob a bank. We kind of recruit
       a third friend to be the getaway car driver. We have one pistol. The plan is for Mr.
       Shook to take the gun in, hold up the teller. I’m going to go in with the bag and collect
       all the money while he’s holding everyone at bay. And we have our getaway car driver
       out front. Never goes in the bank. He’s just sitting there watching for the police, tap
       the horn or something if the police come. And that’s the agreement. That’s our plan.

       And as we go to do that robbery, for whatever reason Mr. Shook shoots and kills the
       teller. Maybe sees him going for a silent alarm or I see him going for a silent alarm and
       tell him. But he shoots and kills the teller during the course of the robbery. He’s
       committed a capital murder, an intentional murder, in the course of the robbery.

       Depending on the facts and circumstances, as we’ve talked about, I could also be found
       guilty of capital murder for my participation and, depending on the answers to the
       questions, I could potentially receive the death penalty.

       What do you think about someone in my position, the bag man, somebody like that?

       A.      You knew about the gun?

       Q.      Yes.

       A.      You knew it was loaded?

36
  By this point in the voir dire, the government had sufficient information to exercise its
challenges for cause.
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       Q.     Yes.

       A.     You’re in.

       Q.     What do you think about the guy, the getaway car driver, out front?

       A.     Same questions. If he—if the three of you planned the contingency for violence
       and premeditation, then I think you all three are equally guilty.

       Q.     Okay. And that’s basically what the law is. . . .

R.R. Vol. 13: 18-21. Trial counsel neither challenged Ms. Stucker for cause nor exercised a

peremptory strike against her. R.R. Vol. 13:39.

       The government engaged in the same tactic when questioning David Evans:

       Q.      . . . . An example we often give is, let’s say Mr. Wirskye and I, and we get another
       accomplice, we decide we want to rob a bank. The plan calls for me to go in with some
       loaded guns, Mr. Wirskye to have a bag, and the accomplice is going to be our getaway
       driver. He’s going to drive us there, keep the car running, and warn us if the police
       are coming and give us a quick getaway.

       We go in and I pull my two guns out. I threaten everyone. Mr. Wirskye starts running
       through the teller’s drawers and grabbing the money. Sometime during the course of
       that, maybe I don’t like the way someone looked at me, maybe Mr. Wirskye says
       someone is about to go for an alarm, and I shoot them and kill them and we leave. We’re
       arrested.

       Quite obviously, I have committed capital murder and I could be prosecuted for it and I
       could ultimately receive the death penalty, depending on how the jury felt about the facts.
       The law says that since Mr. Wirskye and the getaway driver were actively participating,
       they, too, could be prosecuted under the capital murder statute and could ultimately,
       depending on the facts, receive the death penalty.

       ....

       And I want to ask you, Mr. Evans, how do you feel about that, the accomplice or
       nontriggerman. Do you think that they should be prosecuted in these situations and
       ultimately could receive the death penalty, depending on the facts?

       A.     I believe they definitely should be prosecuted and I think they, depending on the
       circumstances, could be eligible for the death penalty.




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       Q.     Okay. What factors come to mind when you think of an accomplice situation
       that would be important to you in determining those types of things?

       A.      I guess the act itself, whether it was intentional or not, some of the factors that
       your reviewed, if it was during the course of an armed robbery or a situation that could
       lead to other people being harmed, should they come upon the scene.

       Q.     Okay. Just the type of situation or how the crime was carried out and the
       potential harm that could be done to people?

       A.     Yes.

       Q.     Okay. The fact that you brought up kind of mirrored exactly what the law is. . .

R.R. Vol. 14: 112-14. Trial counsel neither challenged Ms. Stucker for cause nor exercised a

peremptory strike against her. R.R. Vol. 14: 150-51.

       Nancy Carney was also presented with this hypothetical:

       Q.      . . . . Oftentimes crimes are committed by more than one person. A group or a
       gang of people oftentimes commit a crime. In Texas and every other state, they could be
       held accountable, everyone that participated in the crime. In a death penalty scenario
       when we talk about giving that sort of extreme punishment, a lot of people tell us that
       they would just reserve the death penalty for a person that actually caused the death. I
       guess for lack of a better word the triggerman, the person that actually pulled the trigger,
       actually caused the death. And they draw that bright line.

       And when it came to the person who was the accomplice, I guess, as you probably heard
       that word, the nontriggerman, the people that helped in the crime but didn’t actually
       cause the death, for those type of people they take the death penalty off the table. You
       know, they may convict him and put him in prison for life, give him still a severe
       punishment, but they just don’t think the death penalty is justified in that type of scenario.
       What do you think about that?

       A.     Um, depends on how much planning, I guess, they had in the murder, if they
       knew that that was the intent of the person was to kill the other people, I think they
       should probably suffer the same consequences as the person who shot them.

       Q.    Okay. So you wouldn’t automatically take the death penalty off the table for an
       accomplice or a nonshooter, that type deal?

       A.     No.37


37
  This exchange perfectly highlights the sort of permissible questions that the government could
have employed to gain all the information they required. The government explained that
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       Q.      Okay. Let me give you a fact scenario and see what you think about that. Let’s
       say the other prosecutor, Mr. Shook, and I get together with a third friend of ours and,
       say, we all need money because we have law school student loans, something that sounds
       like you will be familiar with pretty soon. So we need some money real bad.

       So we decide to rob a bank. The plan is Mr. Shook is going to take a gun and go in,
       hold up the teller. I’m going to go in unarmed. I would have my bag to start collecting
       the money from the tellers. And our third friend who has the car and drives us up
       there, waits outside and kind of keeps a lookout for the cops and let us know if any
       show up. And that’s what we agree to.

       And as we go to do this bank robbery, say for whatever reason, maybe one of the tellers
       looks at Mr. Shook the wrong way or he thinks they’re going for a silent alarm or
       something like that and call 911, he shoots and kills one of the tellers. He’s committed
       capital murder, an intentional murder during the course of a robbery. He could be
       convicted of capital murder and could face the death penalty, depending on how the jury
       answers these questions that you read.

       What do you think about me in that scenario, the nontriggerman, or the accomplice,
       who just went in to collect the money?

       A.      Um, I don’t think that you would deserve the death penalty.38

       Q.      Why do you say that?

       A.      Um, because you didn’t tell him or you were not planning on killing anyone.

       Q.       Okay. Is there anything, if you change the facts up a little bit that would make
       it a clearer case to give me perhaps the death penalty or where you would consider the
       death penalty in my case?



nontriggermen are eligible for the death penalty and asked the juror whether she would be
capable of performing her legal duty of considering that punishment for such a defendant without
providing unnecessary and prejudicial facts or asking the juror to set hypothetical parameters for
her decision-making.
38
   Ms. Carney’s equivocal answer in response to the government’s hypothetical does not excuse
the questions that follow, which ask her to set the parameters for her decision-making. Indeed,
the question that produced this answer is a prime example of the reason that commitment
questions are disallowed. Ms. Carney had already evinced a willingness to follow the law and
consider the permissible range of punishments. The fact that she would hesitate to render a death
sentence in a particular case does not give rise to a challenge for cause. See Standefer, 59
S.W.3d at 183 n.28 (“And while it is true that a juror must be able to consider the full range of
punishment for an offense, it is not true that a juror must be able to consider the full range of
punishment for an offense committed under a certain set of facts . . . .”) (emphasis in original).
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        A.      Um, maybe if you had a weapon as well, or if y’all had intended before you went
        in to rob the plan, y’all had intended to kill someone.

        Q.     Okay. We kind of made a plan.

        A.     You are going to kill this one.

        Q.     Whatever we need to do to get out of here—

        A.     Yeah.

        Q.    --I guess, that type deal, not leave any witnesses. Or if I had a gun, that would
        make a difference to you?

        A.     Yes.

        Q.     What about the getaway car driver out front?

        A.       Um, I guess the same kind of scenario. If they had a weapon, if there was a plan
        to kill people, no matter what it took to get away safely.

        Q.     Okay. Let me tell you, it sounds like you are fairly close to what the law is.

R.R. Vol. 14: 161-64.

        Following the government’s questioning of Ms. Carney on this point, trial counsel

objected in a sidebar, which was not recorded. R.R. Vol. 14: 165. At the conclusion of the day’s

voir dire, counsel placed the objection made at the bench on the record and announced her

intention to submit a written request for a running objection. R.R. Vol. 14: 210-12. The trial

judge noted that he sustained the objection at the bench, stating, “I agree with you that they are

getting too detailed, too specific. Please object to that and I will shut that down.” R.R. Vol. 14:

212. Despite the fact that the trial court sustained counsel’s objection to the government’s

questioning, counsel failed to challenge Ms. Carney for cause or to exercise a peremptory strike.

Id. at 206.

        Two days later, prior to beginning the day’s voir dire, trial counsel asked for a

clarification of the court’s ruling on the objection to the government’s hypothetical. R.R. Vol.

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16: 4. The trial court indicated that while a fact pattern could be used to explain the law of

parties, it would sustain an objection to any fact pattern that is “too fact oriented to this particular

case.” Id. at 5. The court then advised the parties that—because they had not agreed on a fact

pattern that could be posed to prospective jurors—counsel would be required to object each time

the government posed a hypothetical that counsel found objectionable and the court would then

“rule on each situation individually on your objection.” Id. at 6.

        Immediately following this discussion, the government began its voir dire of prospective

juror J. Robert DeRossett, whom the defense challenged for cause and, after a denial of that

challenge, peremptorily struck. Id. at 60. When the government began to pose its hypothetical

to Mr. DeRossett, trial counsel objected, and the court instructed Mr. DeRossett to wait outside

while the parties discussed the issue. Id. at 13. Trial counsel asked that the government be

disallowed from posing hypothetical questions mirroring the facts of the case. Id. at 14. After

hearing the government’s argument that hypothetical questions are not per se impermissible, id.

at 15, the court asked the government for the hypothetical it intended to pose. Id. at 18. The

government responded as follows:

        The hypothetical was Mr. Shook and I agree to commit a bank robbery. He has a gun. I
        go in as a bag man. For whatever reason during the course of the robbery Mr. Shook
        shoots and kills the teller, an intentional murder during the course of a robbery. He
        could, obviously, be found guilty of capital murder and prosecuted for the death penalty.
        And the law says under certain facts and circumstances so could I.

        And I would proceed to explain regular law of parties, for lack of a better term, and also
        explain the law of parties conspiracy and ask him if he’s one of those people that just
        takes parties conspiracy or regular parties, those type individuals, the death penalty off
        the table for them, using it to explain the law, not committing him to those facts.

Id. at 19. The court overruled the objection. Id.39



39
  Counsel then lodged an additional objection to the government asking questions inviting the
jurors to set the hypothetical parameters of their decision-making: “[Y]ou said something to the
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       Voir dire resumed six days later. Counsel informed the court that the defense had filed a

written motion requesting a running objection to the government’s use of commitment questions.

R.R. Vol. 17: 91.40 The trial judge stated that he would continue to deny the objection but would

grant the request for a running objection. Id.


               3. Trial Counsel’s Failure to Object to Impermissible Voir Dire or to
               Challenge for Cause or Peremptorily Strike the Jurors Who Committed
               Themselves Was Objectively Unreasonable.


                       a. The Government’s Commitment Questions Violated State Law.

       To answer the first of the two-step Standefer test, it must be determined whether the

questions posed by the government sought a commitment from the juror. There can be no doubt

that the answer to that question, for both categories of questions identified above, is yes.

       The government’s hypothetical sought a commitment from the jurors to answer the

second special issue affirmatively. The Court of Criminal Appeals’ decision in Atkins v. State

condemned the practice of asking a detailed hypothetical under the guise of explaining the law to


State about asking the juror what kind of case they envisioned for parties. I would object to that
question as well on the same ground.” R.R. Vol. 16: 19.
40
   See C.R. Vol. 1: 242. Counsel also requested permission to refer to “this written objection as
Defendant’s Voir Dire Objection One in the presence of the Juror, if the state should propound
other questions to a juror in the course of this jury selection which Defendant deems violate the
afore cited rules of law.” Counsel described the questions to which she objected as follows:

       The State of Texas has used a hypothetical fact situation in which the two prosecutors
       make a decision to rob a bank. The hypothetical situation posed to the juror is one in
       which one prosecutor shoots someone in the course of the robbery and the other
       prosecutor is the “Non-Triggerman”. Various other details may be added as to whether
       one knew what the other contemplated, whether one was merely a getaway driver, etc.
       Defendant objects to setting forth a fact situation which closely parallels the case at bar,
       Defendant objects to the use of a hypothetical which purports to speak to what the law
       provides in a certain fact situation, and Defendant objects to the question as a mechanism
       for eliciting a commitment from a juror.

Id.
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jurors. 951 S.W.2d 787 (Tex. Crim. App. 1997). In that case, the prosecutor asked the jury

panel, “If the evidence, in a hypothetical case, showed that a person was arrested and they had a

crack pipe in their pocket, and they had a residue amount in it, and it could be measured, and it

could be seen, is there anyone who could not convict a person based on that—.” Id. at 787. The

court found that this question was not a proper attempt to explain the law regarding possession of

residual amounts of illegal substances and instead “was used seeking to commit the

veniremembers to the specific facts of the case.” Id. at 790. In explaining that this detailed

hypothetical was improper, the court provided an instructive contrast with a permissible

question: “Certainly a residue amount is not as much of an amount as, let's say, a usable quantity.

 But under the eyes of the law—and the legislature has said, it doesn't matter how much cocaine

it is, if it can be seen and it can be measured, that's possession of cocaine; and if it's proven, the

person can be found guilty. Can you follow a law that says a person can be found guilty of

possessing a residue amount?” Id. at 789-90 (emphasis omitted). As noted in the excerpts

above, the prosecutors in Mr. Murphy’s case were perfectly capable of asking precisely this type

of general question to determine whether the jurors were capable of following the law of parties.

        After presenting the jurors with its improper hypothetical, the government went on to ask

the second category of impermissible questions identified above. These questions sought

specific facts that would lead the jurors to return a verdict of death for a nontriggerman,

repeatedly going so far as to ask point-blank questions about how a defendant knowing that his

accomplices had guns would affect their decision-making. See Voir Dire of Christine Stucker,

R.R. Vol. 11: 120; Voir Dire of Michael Collins, R.R. Vol. 13: 20; Voir Dire of Nancy Carney,

R.R. Vol. 14: 163. The Court of Criminal Appeals has been clear that it is “improper to ask an

open-ended question designed so that the venireperson could set the hypothetical parameters of



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their decision-making.” Allridge v. State, 850 S.W.2d 471, 480 (Tex. Crim. App. 1991), cert.

denied, 510 U.S. 831 (1993). In Allridge, the court held that the question “What circumstances

in your opinion warrant the imposition of the death penalty?” was an improper attempt to

commit a juror to hypothetical parameters. Id. The questions posed by the government in Mr.

Murphy’s case are indistinguishable.

       Addressing the second prong of the Standefer test, the commitment sought by the

government was improper. First, the government’s hypothetical supplied facts well beyond

those necessary to determine whether the jurors could follow the law of parties. This is evident

both from the excerpts themselves, in which the government—in the voir dire of Michael

Collins, R.R. Vol. 13: 18-19, and Nancy Carney, R.R. Vol. 14: 161-62, for instance —

demonstrated its ability to ask proper questions before delving into its hypothetical, as well as

from the discussion of Atkins above. Second, the government’s questions were improper

because they sought a commitment on an issue that would not result in a valid challenge for

cause. As discussed above, the government repeatedly asked the jurors what effect a non-

triggerman’s knowledge of guns in the hands of his accomplices would have. This question is

improper because a juror is not required under the law to give such evidence any particular

weight; thus, no answer would give rise to a valid challenge for cause. In Standefer, the Court of

Criminal Appeals noted that the questions “Could you find someone guilty on the testimony of

one witness?” and “Could you find someone guilty on circumstantial evidence alone?” are both

improper because “[a] party is not entitled to commit a juror on whether he can convict based on

one witness nor is he entitled to commit a juror to a certain disposition if only circumstantial

evidence is presented.” 59 S.W.3d at 183 n.28. Similarly, a question as to “whether a juror

considers a particular type of evidence to be mitigating is not a proper area of inquiry” because



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no answer would give rise to a valid challenge for cause. Id. at 181. Again, the questions in Mr.

Murphy’s case are indistinguishable and were improper.41

                       b. Trial Counsel’s Performance Was Constitutionally Ineffective.

       Trial counsel’s conduct with respect to this issue was ineffective in two respects. First,

counsel failed to object at all to the voir dire of Christine Stucker, Michael Collins, and David

Evans. Second, though counsel objected to the questioning of Nancy Carney and lodged a

running objection thereafter, counsel failed to challenge her, Ms. Stucker, Mr. Collins, or Mr.

Evans for cause or to exercise a peremptory strike against them, despite the fact that they had

committed themselves to an affirmative response to the second special issue.

       Under the first prong of the Strickland test, these deficiencies fell below an objective

standard of reasonableness. As is evident from counsel’s objections during Ms. Carney’s

questioning, during the questioning of prospective jurors who followed Ms. Carney, and from the

written motion filed thereafter, counsel was well aware of the clear caselaw from the Court of

Criminal Appeals disallowing precisely the type of hypothetical posed by the government.42

Moreover, these objections and the written motion that followed show that attempting to prevent

the jury from exposure to these commitment questions was, in fact, counsel’s sound legal

strategy. Counsel simply failed to implement that strategy, and that failure renders their

performance ineffective. See, e.g., Smith v. Black, 904 F.2d 950, 980 (5th Cir. 1990) (“failure to

object properly or to preserve fundamental errors at trial may constitute ineffective assistance of


41
   After asking these improper questions, moreover, the government compounded the problem by
assuring jurors that the hypothetical parameters to which they had committed themselves
matched “[w]hat a lot of jurors have told us”, R.R. Vol. 11: 120, or “mirror[ed] exactly what the
law is.” R.R. Vol. 14: 114.
42
   In the written motion filed on this issue, counsel cited to Lydia v. State, 109 S.W.3d 495 (Tex.
Crim. App. 2003); Standefer v. State, 59 S.W.3d 177 (Tex. Crim. App. 2001); the Texas
Constitution; and the Sixth and Fourteenth Amendments to the United States Constitution. C.R.
Vol. 1: 242.
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counsel”); Burns v. Gammon, 260 F.3d 892, 896 (8th Cir. 2001) (trial counsel’s failure to object

to prosecutor’s improper remarks in closing constituted ineffective assistance of counsel);

Washington v. Hofbauer, 228 F.3d 689, 709 (6th Cir. 2000) (trial counsel’s failure to object to

prosecutor’s improper examination and closing arguments amounted to ineffective assistance of

counsel; “One of defense counsel’s most important roles is to ensure that the prosecutor does not

transgress the[e] bounds [of proper conduct].”). 43


       F.      Mr. Murphy was Prejudiced by Counsel’s Deficient Performance at the
               Punishment Phase of His Capital Trial.

       Mr. Murphy was prejudiced by the accumulation of these errors. Each claim above raises

a deficiency of constitutional dimensions. And as detailed below, the aggregate effect of these

errors so infected Mr. Murphy’s trial as a whole that it was rendered fundamentally unfair. See,

e.g., United States v. Hall, 455 F.3d 508, 520-21 (5th Cir. 2006) (noting applicability of

cumulative error doctrine to ineffective assistance of counsel claims but finding that, on the

particular facts of the case, petitioner was not entitled to its application because he had not

demonstrated error); Miller v. Johnson, 200 F.3d 274, 286 n.6 (5th Cir. 2000) (same).

       Trial counsel unreasonably failed to investigate, discover, present, and explain mitigating

evidence at the punishment phase of Mr. Murphy’s capital trial. Trial counsel failed to conduct a

detailed life-history investigation of Mr. Murphy’s background by a qualified mitigator retained

in a timely manner; failed to conduct meaningful interviews of Mr. Murphy’s family who

possessed critical information about his troubled childhood; and failed to hire a PTSD expert to

investigate and analyze whether Mr. Murphy suffers from PTSD.



43
  See also 2003 ABA Guideline 10.8 Commentary (“One of the most fundamental duties of an
attorney defending a capital case at trial is the preservation of any and all conceivable errors for
each stage of appellate and post-conviction review.”) (internal citations omitted).
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       Had trial counsel conducted a reasonable sentencing investigation, counsel would have

discovered and presented a wealth of mitigating evidence relevant to Mr. Murphy’s background,

character, and mental health. Mr. Murphy suffered from a childhood filled with trauma—

exposure to physically and sexually abusive male “father” figures, including a convicted child

molesters; being clearly unwanted and uncared for by his mother; and living in a home filled

with violence, drugs, and alcohol. Additionally, a reasonable sentencing investigation would

have better informed counsel’s selection and use of a mental health expert in presenting his

sentencing case to the jury. A mental health expert who was provided with a thorough and

reasonable sentencing investigation would have been able to give expert testimony that would

have strengthened the mitigation evidence presented by “focusing the jury on the concrete results

of years of abuse on [Mr. Murphy’s] psyche.” Stevens v. McBride, 489 F3d 883 (7th Cir. 2007).

Specifically, a competent and thorough mitigation investigation would have alerted trial counsel

of the pressing need to retain a mental health expert who specialized in and would focus on Mr.

Murphy’s signs of post-traumatic stress disorder (PTSD). See Sears v. Upton, No. 09-8854, 561

U.S. ___, slip op. at 12 (June 29, 2010) (per curium) (the proper prejudice analysis includes “the

newly uncovered evidence of…mental and psychological impairments” along with the mitigation

evidence presented at trial).

       Competent counsel would have presented the following information to the jury. Mr.

Murphy was born on October 3, 1961, to Carol Goodman and Patrick Murphy Sr., while Carol

was still in high school. Exhibit 35 (Affidavit of Patrick Murphy Sr. at ¶ 3); R.R. Vol. 47: 72.

Carol never wanted to be a mother and resented Patrick and her other children for existing.

Exhibit 36 (Affidavit of Linda Goodman at ¶ 4); Exhibit 37 (Affidavit of Allen Ray Skinner at ¶

6); Exhibit 35 (Affidavit of Patrick Murphy Sr. at ¶ 7). Carol and Mr. Murphy Sr. divorced



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when Mr. Murphy was around eighteen months old. R.R. Vol. 48: 102. After the divorce, Carol

would routinely leave Mr. Murphy with his grandmother and Aunt Linda for days or weeks at a

time. R.R. Vol. 47: 74; Exhibit 36 (Affidavit of Linda Goodman at ¶ 7, 8).

       While Mr. Murphy was with his relatives, his grandmother would verbally and physically

abuse him and “taught him how to shoplift from a young age.” Exhibit 35 (Affidavit of Patrick

Murphy Sr. at ¶ 10).   When Carol left Mr. Murphy with his relatives, it fell to Ms. Goodman,

then a child herself, to take care of him. R.R. Vol. 47: 75; Exhibit 36 (Affidavit of Linda

Goodman at ¶ 10). Carol would often move in with any man who would let her in order to

escape her child and her family. Exhibit 36 (Affidavit of Linda Goodman at ¶ 13). There were

always men in and out of the house. Exhibit 37 (Affidavit of Allen Ray Skinner at ¶ 5); Exhibit

38 (Declaration of Sheryl Green Fontenot at ¶ 6). She lived with Ray Skinner, a man who

caused her to hemorrhage so severely she required hospitalization because he demanded sex just

after she had given birth. R.R. Vol. 47: 85; Exhibit 36 (Affidavit of Linda Goodman at ¶ 16).

She also lived with Leslie Green, a convicted child molester, who would answer the door naked

and walk around the house in front of the children wearing fishnet underwear. Exhibit 36

(Affidavit of Linda Goodman at ¶ 21); Exhibit 37 (Affidavit of Allen Ray Skinner at ¶ 10)l;

Exhibit 38 (Declaration of Sheryl Green Fontenot at ¶ 8). Mr. Murphy had at least seven

different “step fathers,” and many of them both physically and sexually abused him. Exhibit 35

(Affidavit of Patrick Murphy Sr. at ¶ 11). Mr. Murphy’s mother consistently chose the men in

her life over her children, and failed to protect Mr. Murphy and his siblings from their abuse.

Exhibit 38 (Declaration of Sheryl Green Fontenot at ¶ 9, 10). Mr. Murphy also spent time with

two paternal uncles who have since been incarcerated for sexually molesting children. Exhibit

39 (Affidavit of Kristina Murphy Rogers at ¶ 14).



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       Mr. Murphy ran away from his mother many times as a young child, and when he was

nine years old she finally called Mr. Murphy Sr. to take their child. Exhibit 35 (Affidavit of

Patrick Murphy Sr. at ¶ 13). When Mr. Murphy was found, he was covered in sores, ringworm,

and filthy old clothes. R.R. Vol. 48: 106; Exhibit 35 (Affidavit of Patrick Murphy Sr. at ¶ 14).

Mr. Murphy’s nine years of abuse had caused severe emotional damage. Exhibit 35 (Affidavit of

Patrick Murphy Sr. at ¶ 20). He did not know right from wrong or how to brush his teeth or take

a bath. R.R. Vol. 38: 108-9; Exhibit 35 (Affidavit of Patrick Murphy Sr. at ¶ 21); Exhibit 39

(Affidavit of Kristina Murphy Rogers at ¶ 6). While living with his father, Mr. Murphy was

often disciplined with a belt. Exhibit 35 (Affidavit of Patrick Murphy Sr. at ¶ 19); Exhibit 39

(Affidavit of Kristina Murphy Rogers at ¶ 5).

       Mr. Murphy remained with his father until he ran away to a halfway house called House

of Abel, led by a man named Don Ballinger. R.R. Vol. 47: 100; Exhibit 35 (Affidavit of Patrick

Murphy Sr. at ¶ 28); Exhibit 39 (Affidavit of Kristina Murphy Rogers at ¶ 10). Don Ballinger, a

married minister in his thirties, took advantage of Mr. Murphy and began having a sexual

relationship with him; Mr. Murphy was only a teenager at the time. Exhibit 35 (Affidavit of

Patrick Murphy Sr. at ¶ 28); Exhibit 39 (Affidavit of Kristina Murphy Rogers at ¶ 11).

       Competent counsel would also have presented information that, despite Mr. Murphy’s

prior criminal convictions and other misdeeds, he was capable of good and had been a source of

solace to his half-sister Sheryl Green Fontenot as she dealt with the pain of suffering years of

abuse similar to the abuse visited upon Mr. Murphy. Exhibit 38 (Declaration of Sheryl Green

Fontenot at ¶ 5, 8-13, 16-17) (detailing abuse). Specifically, Ms. Fontenot and Mr. Murphy

began writing letters to each other when Ms. Fontenot was a teenager. Id. at ¶ 18. Mr. Murphy

was the only person in whom Ms. Fontenot felt she could confide, as Mr. Murphy believed Ms.



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Fontenot’s reports of what had happened to her and did not judge her. Id. Indeed, writing to Mr.

Murphy was “like therapy” for Ms. Fontenot. Id.

       In addition, the punishment phase of Mr. Murphy’s trial would have been cast in a

decidedly different light had it not been marred by the prosecutors’ impermissible voir dire and

improper arguments.44 These arguments permeated the State’s initial and rebuttal arguments.

They were repeated, lengthy, and—given the highly emotional themes at their disposal,

particularly considered in juxtaposition to trial counsel’s deficient presentation of the mitigation

case—undoubtedly effective. Their cumulative effect was to bombard the jurors with an

emotionally charged plea to abandon their duty to make an individualized decision based on the

evidence in the record.

       Furthermore, four of the deliberating jurors at Mr. Murphy’s trial were asked improper

questions during voir dire, and all of them answered the government’s questions in a way that

committed themselves to an affirmative answer to the second special issue. During punishment

phase summations, the government reminded them of their commitments, telling them that “each

of [them] agreed with that law” of parties. R.R. Vol. 49: 19.

       Mr. Murphy should be granted a new punishment phase trial in which the jurors are

exposed to neither improper voir dire nor argument; are not tainted by pervasive and

inflammatory pretrial publicity; and during which—after hearing a balanced presentation of all

the mitigating and aggravating evidence—they are provided with an opportunity to formulate a

“‘reasoned moral response to the defendant’s background, character, and crime.’” Penry, 492

U.S. at 327 (quoting California v. Brown, 479 U.S. 538, 545 (1987) (O’Connor, J., concurring)).

       If trial counsel had properly moved for a change of venue, objected to the government


44
  As noted above, Mr. Murphy’s punishment phase was likewise tainted by trial counsel’s failure
to seek a change of venue.
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impermissible voir dire and summations, conducted a reasonable inquiry of Mr. Murphy, and

thereafter conducted a reasonable investigation of the information such an inquiry would have

produced, there is a reasonable probability that the result of Mr. Murphy’s punishment stage trial

would have been different.


IV.    MR. MURPHY WAS DEPRIVED OF THE EFFECTIVE ASSISTANCE OF
       APPELLATE COUNSEL, IN VIOLATION OF THE SIXTH AND FOURTEENTH
       AMENDMENTS TO THE UNITED STATES CONSTITUTION.

       Every criminal defendant has a right to effective assistance of counsel on his first direct

appeal as a matter of right. Evitts v. Lucey, 469 U.S. 387 (1985); Strickland v. Washington, 466

U.S. 668 (1984). The standard applicable to such claims is the same two-pronged Strickland

standard of deficient performance and prejudice governing claims of ineffectiveness of trial

counsel. Evitts, 469 U.S. at 387.

       Counsel’s role on direct appeal is “that of an expert professional whose assistance is

necessary in a legal system governed by complex rules and procedures for the defendant to

obtain a decision at all—much less a favorable decision—on the merits of the case.” Evitts, 469

U.S. at 394. Thus, appellate counsel must make “a conscientious examination” of the record to

identify all of the potential issues for an appeal, thoroughly research every colorable claim, and

make a reasonable professional judgment about which points to raise. Anders v. California, 386

U.S. 738, 744 (1967). To do so, appellate counsel “must have a firm command of the facts of the

case as well as governing law before [they] can render reasonably effective assistance of

counsel.” Appellate counsel’s inexcusable failure to raise a point of error that had a reasonable

probability of success is sufficient to make the showing of deficient performance. Duhamel v.

Collins, 955 F.2d 962, 966–67 (5th Cir. 1993).




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       Direct appeal counsel’s performance in Mr. Murphy’s case was unreasonable under the

prevailing professional norms, and there is a reasonable probability that, but for appellate

counsel’s errors, Mr. Murphy’s death sentence would have been reversed on direct appeal. See

Duhamel, 955 F.2d at 966; Heath v. Jones, 941 F.2d 1126, 1130 (11th Cir. 1991). With the

exception of Mr. Murphy’s claim that he was sentenced to death without the necessary Enmund

and Tison findings, direct appeal counsel failed to present each of the potentially meritorious

claims raised in this petition. Because there is a reasonable probability that Mr. Murphy would

have prevailed on these claims had they been timely presented to the Court of Criminal Appeals

in his direct appeal brief, Mr. Murphy is entitled to a new direct appeal process.




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                        CONCLUSION AND PRAYER FOR RELIEF

       WHEREFORE, Mr. Murphy prays that this Court:

       1.      Issue a writ of habeas corpus to have him brought before it, to the end that he may
               be relieved of his unconstitutional sentence of death;

       2.      If necessary to resolve disputed factual issues, schedule an evidentiary hearing
               during which Mr. Murphy may present evidence in support of his claims;

       2.      Grant such other relief as law and justice requires.


                                      Respectfully submitted,


                                        s/ David R. Dow
                                     ____________________
                                         David R. Dow
                                     Texas Bar No. 06064900

                                           Laura Ferry
                                     Texas Bar. No. 24069715

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                   Counsel to Patrick Henry Murphy Jr., Petitioner–Appellant



                                        VERIFICATION

       I, David R. Dow, attorney for Petitioner in the above-entitled action, state that to the best
of my knowledge and belief, the facts set for in this Petition are true.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on
June 30, 2010.

                                                      s/ David R. Dow
                                                      ______________________
                                                      David R. Dow

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                                CERTIFICATE OF SERVICE

        I certify that on June 30, 2010, a copy of the foregoing pleading was electronically served
on counsel for the Respondent by filing the document with the Clerk of the Court for the U.S.
District Court, Northern District of Texas, using the electronic case filing system of the court.

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                                                             s/ David R. Dow
                                                             ______________________
                                                             David R. Dow




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